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EXHIBIT A

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
---000---

BEFORE THE HONORABLE LAWRENCE K. KARLTON, SENIOR JUDGE

RALPH COLEMAN, et al.,

Plaintiff, .
Vs. CASE NO. CIV. S-90-0520 LKK
ARNOLD SCHWARZENEGGER,
et al.,
Defendants.
/

~--000---
REPORTER'S TRANSCRIPT
WEDNESDAY, APRIL 26TH, 2006

RE: EVIDENTIARY HEARING RE MOTION FOR COURT ORDER

-~--000---

Reported by: CATHERINE E.F. BODENE,
CSR. No. 6926

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APPEARANCES

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FOR THE PLAINTIFF:

ROSEN, BIEN & ASARO, LLP
155 MONTGOMERY STREET, EIGHTH FLOOR
SAN FRANCISCO, CALIFORNIA 94104

BY: MICHAEL BIEN,

ATTORNEY AT LAW

FOR THE DEFENDANTS:

STATE OF CALIFORNIA, DEPT. OF JUSTICE
OFFICE OF THE ATTORNEY GENERAL

1300 I STREET

SACRAMENTO, CALIFORNIA 95814

BY: LISA TILLMAN, .
DEPUTY ATTORNEY GENERAL

---o00---

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SACRAMENTO, CALIFORNIA
WEDNESDAY, APRIL 26TH, 2006 ~ 2:00 PM
~--000---

THE CLERK: All rise. Court is in session.

The Honorable Lawrence K. Karlton is presiding.

THE COURT: Please, be seated,

Good morning, Ladies and Gentlemen.

May I have counsel approach the podium, state your
appearance for the record and indicate whether you will be

arguing.

MR. BIEN: Good afternoon, Your Honor. Michael Bien .

on behalf of plaintiffs.

MS. TILLMAN: Good afternoon, Your Honor. Lisa
Tillman on behalf defendants. .

THE COURT: You are only two lawyers that will be
talking this afternoon?

MS. TILLMAN: Yes, Your Honor.

MR. BIEN: Yes, Your Honor.

THE COURT: All those other folks are welcome, but
just be quiet.

I do want to talk a little bit about what I think is
going on, and then I'm going to hand out some questions to
the parties, ask the defendant -- take a recess, ask the
defendant to consult with those persons that I've asked to be

present, find out who is the appropriate person to answer

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those questions, discuss it with them so that they know what
it is we're going to be talking about, and then we'll put
them on the stand and try and get the answers that I think
are critical.

I want to start by making an observation that I am in

a sense quite -~ Actually, you folks can sit down because I'm

about to make a speech.

MS. TILLMAN: Thank you, Your Honor.

THE COURT: I'm happy that the plaintiffs have
objected to some of the matters because it gives me an
opportunity to have a hearing that I've been thinking I

needed for some time.

It is not unimportant to the Court that the judgment
in this case was entered 11 years ago. And we are still ina
place in which the defendants have been unable to bring the
delivery of psychiatric care up to constitutional standards.

I don't want to be misunderstood. [I very much
understand how much progress has been made, but ina sense --
and I don't mean this disrespectfully, though I suspect
that's how it's going to sound ~- what we've managed to do is
crawl our way out of the snake pit.

Well, good for us, but that! Ss hardly the standard
required by the Constitution.

I have profound trust in my Special Master. I got so

lucky, I can hardly believe it. Nonetheless, it is 11 years,

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and we are not done. And that is unacceptable. It is just
plain unacceptable.

I promised myself I wouldn't Tose my temper, and I'm
not going to.

In a sense, this hearing is to help me understand why
we are where we are, and what we can possibly do to bring the
State into conformance with the Constitution of the United
States.

That's what this case is about. Every defendant in
this case is in violation of the law. ‘That is shocking.

That is shocking. .

And that we go on and talk about building out to
19 -- to 2011, or God. knows how much beyond that. There's no
sense of urgency. There's no sense that the defendants are
in violation of the law.

So that's one purpose in this hearing.

Another purpose is engendered by the fact that
Judge Henderson has ordered a receivership in Plata. And we
are going to have a joint hearing, as I think you all know,
on June the 8th at ten o! clock here in Sacramento. I offered
to go ‘down to San Francisco, but I think Judge Henderson,

because we met down there twice, thought it was his turn to

come up. And it's important for me to be in a position when

we talk on June the 8th to have some better sense of what's

possible,

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And in that regard, one of the purposes of the
meeting -- of the hearing will be to coordinate this case
with Plata and try and understand how we can achieve
appropriate relief for both medical care and psychiatric care
in this system.

I want to say something to the defendants, that I
appreciate how difficult the problem is. I really do. And
part of the reason, as I perceive it, that you are out of
conformance with the Constitution is the extraordinary
explosion both in population in the prison. system and in the
number of folks who need psychiatric care.

And there appear to be at least two significant
reasons for that. -One is the determination of the people of
the State under the Three Strikes Law to imprison many, many
more people for much longer periods of time, thus increasing
the population in the prisons. And the second reason, of
course, has been the closing of the statewide institutions --
mental institutions so that the prisons have become, in.
effect, mental hospitals.

So many of the people who are in prison today, when I
was a lawyer, would have been in a mental institution. And
there's an argument that's where they all belong. But the
State made a different judgment and here we are.

And I understand the pressures and the difficulties

that that imposes upon the defendants. But, you know, the

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State has made that judgment. And now the State must pay the
piper.

I tell the people in Finance who are here, I hope,
Supposed to be here, the State made a. policy judgment. You
have to pay for it. And it's going to be horrifically
expensive. And if you think this is expensive, wait until
you find out what the physical medical costs are going to be.

All right. I've sort of gotten, ina sense, what I
had to say about that.

I am going to ask the parties, if they will, when
they are testifying, and the lawyers as well, to avoid
acronyms to extent that you can. My Special Master doesn't.
Very often, I’ frequently have to stop and say what in
goodness name is this. And now he's taken to writing it out
then giving me a bracket so I can go back and find it later
on. But it is not a useful thing, if you can avoid it.
Sometimes you can't.

What I wish to do today is first of all talk about
the Bed Plan, which I think is going to take some time and is
going to require the answering of a bunch of questions. Then
the Plaintiffs to Outstanding Objections to the Monitoring
Report, and finally we'll send all the rest the folks but the
lawyers home, and we'll try and work out a status conference
concerning discovery for the upcoming hearing on the program.

Let me talk about the good things before we:start

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1 talking about the bad. I want to start by acknowledging the

2 multi-disciplinary group work and appreciation of the

3 collaborative effort among the State agencies. That was an

4 important step forward. Something you hadn't done before.

5 I'm glad you came in late, Denny I've been saying

6 really strong things you won't be able to report.

7 That's the Bee reporter in case you wonder who I'm

8 talking to.

9 And that's a really important step forward, and I
10 urge the parties to continue in addressing these problems to
11 do this ina multi-disciplinary way. It's the only way it's
12} going to get solved at all.

13 The long-range plan for Acute Care beds, 350 male

14 beds, 25 female beds, appears to me to be a good judgment.
15 And the Court's glad to see the beds will be inside the

16 California Department of Corrections and Rehabilitation.

17 I think that's an important step forward. To have
18. the Department of Mental Health working within the

19 institution means that the institution can provide the kind
20 of security and custody 1 mean, one of the things, as I
21 sometimes have to remind the plaintiffs, is a lot of their
22 clients are bad, dangerous folks. And there really has to be
23 the kind of custody and security that, for better or worse,
24 we provide in prison. So I think that's a step in the right
25 direction. I would encourage people, as they try to think

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their way through the problem, to start thinking that as a
model for the future. .

Again, the long-range plan for the Intermediate Care
Facility appears to me to be essentially appropriate. The
timeline is unacceptable.

June 2011.

That's five years away. And there is a crisis today.

You are in violation of the Constitution of the
United States today.

Unacceptable.

We've got to find -- I mean, the long-term idea, five
years, would be fine if we had an interim plan that makes
sense. ‘I might also say, that as far as I can understand the
history of this litigation; we have never met a date. Not
once. So when you tell me it is five years away, I have a
great deal of doubt. And so we've got to work through this
question of immediate help.

‘Then we have the Mental Health Crisis beds, and
they're talking about construction, as I understand it,
through 2008. Maybe that will be sufficient. We have an
acute crisis today. That crisis must be addressed.

I am very pleased that the defendants, on their own,
have started to address, apparently without the plaintiffs
bothering them or even the Special Master, apparently have

Started to think on their own about how to deal with the

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Enhanced Outpatient Program and finding beds in the future.

So there are those good things. And I want everybody
to know that the Court understands that and appreciates that,
but we have an immediate crisis. And somehow or other we
must find a way of addressing that crisis, which brings me to
the questions.

Ana, will you please hand out the questions to
counsel for both parties,

I don't know how long it is going to take you, Ma'am,
to figure out who of your parties are the appropriate people
to answer these questions and go over it with them so that
they can be prepared to provide us with a sensible set of
answers, but what I'm going to do is take a half~an-hour
recess to give you an opportunity to do that.

If it turns out you're going to need more time, .I
will do that as well. And TI will tell you if we have to go
over to tomorrow, my trial went away, which is why we could
start at 2:00, and I will do that as well.

I mean, obviously we have got to get going.

The Court will take a half-an-hour recess.

(Off the record at 2:21 PM)

(Back on the record at 2:50 PM)

THE CLERK: Please, remain seated.

Court is now in session.

THE COURT: Miss Tillman, are we more or less ready

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to get started?

MS. TILLMAN: Yes, we are, Your Honor.

THE COURT: Very good. Can we take up the first
question, which is the effect of the new population
projections.

Who would be speaking to that?

MS. TILLMAN: Doug McKeever.

THE COURT: You got to come to the microphone.

MS. TILLMAN: Let me introduce Doug McKeever, Project
Director, out of Health Care Services for the Department of
Corrections and Rehabilitation.

THE COURT: Come to the stand and be sworn, sir.

DOUG MCKEEVER,
was thereupon called as a witness herein by the Defendants,
and having been sworn to tell the truth, the whole truth and
nothing but the truth, was thereupon examined and testified
as follows:

THE CLERK: Please, have a seat.

Please, state your name for the record, spell your
last hame and speak directly into the microphone.

THE WITNESS: Doug McKeever, M-c, capitol,
K-e-e-v-e-r.

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DIRECT EXAMINATION
BY MS. TILLMAN:
Q. - Good afternoon, Mr. McKeever.

Would you let the Court know what your background is
in terms of the Bed Plan submitted to the Court on April
17th.

THE COURT: Before you do that, what is your present
job title, I guess?

THE WITNESS: I'm Project Director for Mental
Health.

THE COURT: Thank you, sir.

MS. TILLMAN: Thank you.

BY MS. TILLMAN:

Q. Your background in preparing the report submitted to
the Court on April 17th?

A, Essentially, I was asked by Undersecretary, Jeanne
Woodford, to lead the multi-disciplinary work group that
consisted of all the departments that Your Honor listed
earlier and referred to in the development of the Bed Plan
submitted in April.

Q. And in the course of preparing that Bed Plan, did you
work at all with any of the population projections contained
in that plan?

A. Yes, we did.

Q. And in what manner did you work with those

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projections?
A, The population projections that we used were based
upon a 2002 Tucker~Alan study that was done in which formal
methodology was put in place that allowed for us to
understand what the capacity is within the current
Department, and then based on the methodology, project out
what the forecasted need would be for the variety of mental
health inmate patients we have in our system at all the
levels of care.
Q. What was the database for the population ~- Strike
that.

What population numbers did you use in engaging in
this forecast? .
A. In order to comply with the court order and submit
the plan in April, we needed to use the fall population

projections that were produced by the Department.

Q. And that was fall of what year?
A. 2005.
Q. Have those projections been updated at all in light

of the spring 2006 projections?
A. The mental health projections have not yet been
updated with the spring population projections.
THE COURT: Is that being worked on?
THE WITNESS: Yes, it is.

THE COURT: All right.

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Do you have an idea when that's going to get done?

THE WITNESS: I don't have a specific date for Your
Honor.

THE COURT: I understand. Generally, what do you
think? .

THE WITNESS: We're hoping within the next several
weeks. However, we have a database issue we're trying to
resolved so that could result in that not being completed in
the next few weeks.

THE COURT: Okay.

BY MS. TILLMAN:

QO. Do you have any understanding as to whether or not

the Bed Plan will be revised once the spring population
numbers are introduced into the Tucker-Alan methodology?

A. If, in fact, the numbers reflect there is a greater

need, than obviously we will reconvene the bed planning group —

and make any adjustments to the Bed Plan that may be
necessary based upon those new projections.
Q. “The Court also asked about the methodology for
forecasting the demand for mental health beds and asked
whether the Tucker-Alan methodology of 2002 needs to be
updated.

Do you have an opinion on that?
A. My opinion is that it does need to be updated. And

as a result, we have contracted with Mr. John Mizner of

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Navigant to do an analysis of the methodology itself, ensure

‘that what we have done placing the UNA, Unidentified Needs

Assessment individuals into that methodology, was done
appropriately. And certainly based upon his findings, if we
need to make modifications to that, we will do so.
Q. . In preparing the Bed Plan that was submitted to this
Court, did you become aware of a shortfall of 123
Intermediate Care beds?
A. I believe that shortfall refers to the current wait
list that requires Level IV, high-custody inmate patients to
be housed at Salinas Valley State Prison.
Q. Do you understand that shortfall will exist until at
least July 2008 and perhaps March 2009?
A. Yes.
Q. Are there any plans underway to try to address that
shortfall before 2008-2009?
A. We are currently working on some additional
strategies to address that particular issue. And obviously,
we would indulge the Court to grant us about 60 more days in
order to -- in which to fully vet those strategies and -come
up with a plan that we believe will address that issue.

MS. TILLMAN: Your Honor, this witness has responded
to the first three questions provided in the Court's
questionnaire. For the next set I would have another

witness.

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THE COURT: Mr. Bien, do you desire to question the
witness?

MR. BIEN: Yes, please.

THE COURT: © You may retire.

MS. TILLMAN: Thank you.

THE COURT: I might indicate to both counsel, the
Court is not going to do anything from the bench. After we
get all this out, I've got to go back and think about what
T'm hearing.

Mr. Bien.

CROSS-EXAMINATION

BY MR. BIEN:
Q. Mr. McKeever, do you have any doubt that the spring
population projection is going to require an increase in
mental health services for the population?
A, I think --

THE COURT: I think what he really means is there is
going to be more people that need mental health services.

THE WITNESS: If you're asking for my opinion versus
a professional, I'm not a statistician. All I can offer is
my professional opinion.

BY MR. BIEN.

Q. Have you looked at the spring population projections?
A. Yes. They have gone up.
Q. Isn't it correct that between the fall 2005

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projection and the spring 2005 projection, the population
projected for 2011 went up by six-and-a-half percent?

A. I can't address whether it was specifically
six-and-a-half percent, but I do know it did go up.

Q. And so you know you're going to need more beds,
right?

A. One could assume that is correct.

Q. Right. Hasn't your group already been discussing the

need for additional beds based on the spring projections?

A. As I stated earlier, if, in fact, once we get the
spring population projections entered into the Gap Analysis
Sheet, and once we determine if the bed need is greater than
what we had used to provide the Court's plan in April, then
we will regroup, revise the plan if necessary, and come back
with an additional request.

THE COURT: He's going to ask you a question that I
got to ask you:

Look, it seems all right certain that you're going to
need more beds. You may not know exactly how many you need,
and you're not going to know that until the 60 days are over,
God willing and the river don't rise, but you know you're
going to need more beds. Why aren't you -- This is the whole
sense of urgency that I tried to talk about earlier.

Why aren't you convening the group now and saying,

"Look, we don't know exactly how many beds we're going to

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need, we know we're going to need more beds, let's start
planning now."

Why isn't that being done, sir?

THE WITNESS: Well, I think, let me clarify if I may.

We have recognized that there may be an additional
need for beds. As I indicated earlier, there some additional
Strategies the Department is pursuing to address any
additional need there may be, specifically at the mental
health crisis bed issue. So I don't mean to suggest that
we're not looking at it now and we're waiting. So I hope.
that clarifies it a little bit.
BY MR. BIEN:
Q. I'm just trying to give you ~~ The people who do the
spring population projections is the Department of
Corrections; isn't that correct?
A. That is correct.
Q. And those projections are based on the actual
population that's been going up month-after-month,
day-after-day, beyond what you had projected in the fall; is

that correct?

AL Yes, it is.
QO. © Okay. So you have known all along that the
population projections were out of date -- the spring 2005

population projections were out of date?

MS. TILLMAN: Objection. Misstates the testimony,

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“spring 05,
BY MR. BIEN:
Q. You knew on April 17th, when you filed the Bed Plan,

that the numbers you were relying on, the fall 2005

projections, were already out of date and wrong, the
Department knew they were wrong at that point?

A. The general population projections, correct, were
wrong. But how that impacted the mental health projections,
until such time that we get that run through the methodology,
Iocan't sit here and tell you that it is, in fact, going to
be "x" number higher.

THE COURT: I'm informed by my Special Master that
for some reasonably clear period of time, about 19 percent --
it's been sort of a constant at about somewhere between 19
and 20 percent of the population now requires mental health
services.

Is that your understanding as well?

THE WITNESS: That is.

THE COURT: And so you have a -- I'm not suggesting
you're bad people. I just don't understand why you aren't --
You know that you're going up. You know about 19 to 20
percent are going to require services. That's a planning
number you can Start working on now, isn't it?

THE WITNESS: Yes, sir. I believe as I indicated

earlier, if the Court indulges us and grants us an additional

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60 days, I think we can respond to that more adequately than
we may have already done so.
THE COURT: Mr. Bien.
BY MR. BIEN:
Q. You're aware the Court ordered you to do this Bed

Plan originally about a year ago?

A. I believe --

Q. March 2005?
A. That was the first plan that I was involved in that

was submitted to the Court. That's correct.
Q. And so the Court has already indulged you more than a
year, and in that time period no additional plans for beds
have gone forth, nothing has gone to the Legislature?
A. If I may correct you, Mr. Bien, there was an
additional plan submitted in August for the conversion of CMF
and Salinas Valley. So there were some additional plans
submitted to the Court.
Q. “You didn't -- you haven't been working with the
people who did the Tucker-Alan study in this last year as you
developed these plans?

THE COURT: I don't know what that means.
BY MR. BIEN:
Q. You mentioned -- I was going to ask you whether or
not the Tucker-Alan people had worked with you on this new

projection?

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A. They did not participate in the development of the
Bed Plan itself, no.
Q. And the UNA study material has been available to you
for more than a year now?
A. Yes.
Q. Okay. So in this time period you haven't sought the

need to engage the Tucker-Alan people and see how these new
numbers would plug into their model?
A. Well, as I mentioned earlier, we did contract with
Navigant, John Mizner, to ensure that how we included the UNA
numbers in the fall projections, in the Gap Analysis that we
came up with were done correctly, adequately and effectively.
And we're awaiting the results from them to determine if
that, in fact, is true.

So we engaged them to determine if the methodology

and the fact that the UNA came out, we put them into the

. projections, based on the levels that were identified in the

Unidentified Needs Assessment, and now the methodology and

how we put those numbers into it are being reviewed by

Navigant.

Q. So you already let a contract to them?

A. Yes.

Q. You just don't have the results in time to include in

this study?

A. That is correct.

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Q. Okay. Sixty days from now will be after the budget
“process is over in California, isn't it?
A, To my knowledge -~ yes, I believe it will be over at

this point for the '06-'07 budget.

Q. So 60 days -- if the judge gives you 60 days, that
means that whatever men are suffering out there are going to
suffer a whole other year?

MS. TILLMAN: Objection. Lack of foundation as to
the budget process. —

THE COURT: The question is given what you already
know, have you gone to the Legislature?

I know there is a whole process to go to the
Legislature. Have you started the process of going to the
Legislature and saying that we need all of these other
beds -- or the reasonable projection is we're going to need
all of these beds, we need the money to make it happen?

THE WITNESS: If you're referring to beds we put into
the Plan, that process has already taken place.

THE COURT: And does that include some estimate
based upon your knowledge that the figures that you used in
the Bed Plan turned out to be short?

THE WITNESS: No. We would have to go back with an
additional request if we found that we needed additional
beds. .

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BY MR. BIEN:
Q. Have you approached the Legislature and said, you
know, we're going to need approximately six-and-a-half
percent more in 2011 than what we said?
A. No.
Q. Okay. Has your group discussed doing that?
AL Not at this tiie.
QO. Mr. McKeever, we talked on the telephone over the
last week or couple of weeks as your plans were being
developed, and we asked some questions about how you had
plugged the UNA study information into the Tucker-Alan
numbers.

Do you recall that?

Aw I do.
Q. . And do you recall telling us you would provide us
with your backup data?
A. I do.
Q. bid you provide us with your backup data?
A. I did not.
Q. When you adjusted the Tucker~Alan numbers to reflect

the UNA study, did you also adjust the Tucker-Alan numbers to

reflect the fact that their projections of population were .

low?
A. Can you ~- I don't understand the question.
Q. So if you are using a 2002 study?

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A. Uh-huh. .
Q. You've got to make several changes to it to make it
relevant today; is that correct?
A. I don't believe any changes were made to the
methodology. The only changes were the actual data, the
population figures, the length of stay data, that type of
thing that were made to the projections. The methodology did
not change.
Q. Okay. What was the Tucker-Alan methodology?
A. Personally, my knowledge of it is only that of which
I've read, which is Enclosure 1, based upon what was
submitted by Navigant back in 2002. I'm not the person
responsible for that particular component of the program.
Q. Okay. You're aware the Tucker-Alan projections were
way low in 2002?

MS. TILLMAN: Objection. Lack of foundation.

THE COURT: Sustained.
BY MR. BIEN:
QO. In other words, you're the one who's responsible for

applying the Tucker-Alan methodology to this current

population situation? You're the Project Director; is that

correct?
A. Yes. And maybe it would be helpful to clarify that,
again, my role is to take the data that's provided to me, and

then use that data in the development of the plan that was

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23
submitted to the Court.

So my knowledge of Tucker-Alan, the methodology, the
formulas behind it is very limited because that's not my area
of responsibility.

Q. Okay. Do you plug numbers in? How do you do this?

Do you use a computer program?

A. Again, that's not my area of responsibility.
Q. I understand. But you said you're the one who

takes ~-
THE COURT: After somebody has given him the

numbers.

THE WITNESS: I get the sheet that is included as

Enclosure 2,

BY MR. BIEN:

Q. Right?

A. The spread sheet in Enclosure 2 in the Bed Plan.
Q. Right.

A. I take that. It shows me what our current pop is,

what our need is or gap, as it's identified in the sheet, and

then we facilitated the bed planning group to account for

that gap.
Q. Who created Enclosure 2?
A. Enclosure 2 was created by the Division of

Correctional Health Care Services.

Q. And who there was responsible for this?

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A. Her name is Sharon Regal.
Q. Do you understand what she did to manipulate the
current numbers and get these numbers?

MS. TILLMAN: Objection as to the characterization of
"manipulate".

THE COURT: He doesn't mean in that in a bad way. He
just means. how did it get changed.

Do you know? If you don't, it's all right.

THE WITNESS: I am -- again, I'm not familiar enough
to sit here and state that I know exactly how she does that.
No.

BY MR. BIEN:

Q. Do you understand that one of the findings of the UNA

study was that the Department was not correctly placing

mentally ill prisoners at their appropriate level of care?

A. That is my understanding, yes.

Q. Okay. And the UNA studies went out and did a study,
and it was the Department of Corrections in conjunction with
the Special Master and his team, and they determined that
approximately 14 percent of the EOP population at the time
should have been in higher levels of care, either APP --
that's the acute psychiatric, Your Honor -- or ICF
Intermediate Care; is that correct?

A. Yes. I believe that number was 512.

Q. Okay. But it was a finding that you couldn't rely on -

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just how the Department at this moment in time categorized
their population; is that correct?

In other words, clinicians were not able to move
people to the appropriate levels of care for whatever reason.
So you just couldn't rely on that I'm going to look at the
population right now and see how many are Inpatient, EOP, and
then just project out growth based on an increase in
population?

You have to do something else?

A. Okay. Again, that would be outside my area of
expertise.
QO. Has anyone from the Governor's office told you that

you cannot go to the Legislature right now and say: You
know, what, we're short. Why don't you just adjust these
beds six-and-a-half percent?

No.

Okay. Have you asked anyone to do that?
Personally, I have not.

Have you heard anyone discuss doing that?

- I'm not aware that anybody has asked that question.

oO Fr OO FO PB

Does it concern you that you're going to spend close
toa billion dollars of money and end up short beds in 2011?
A. From a planning perspective, if we can account for
the need now, yes, it would concern me.

QO. What steps have you taken --

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THE COURT: If any.

BY MR. BIEN.

Q. -- to address the gap between now, and let's just say
2008 when it looks like you may have some new resources for
ICF Level IV beds?

THE COURT: Hang on. I suspect this is the wrong
witness.

Is that right, counsel, that you've got somebody else
to talk about the gap, the current problems?

MR. BIEN: I was asking question A-3. I don't know
if this is something Mr. McKeever knows about or not.

THE COURT: All right. I mean, that's perfectly
legitimate. But I thought he was limited to 1 and 2. And
you were putting --

MR. BIEN: Okay.

THE COURT: I may be wrong.

MS. TILLMAN: I think he touched upon A-3.

THE COURT: All right. Put the question to him
again.

BY MR. BIEN:

Q. What steps, Mr. McKeever, have you taken to address
the fact that your plan leaves 123 Inpatient Psychiatric ICF
beds for Level IV unmet for several. years?

A. There are a number of additional strategies that the

Department has identified, which have not been vetted yet

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with the Court, relative to addressing that particular need.

And that is why I asked earlier for the Court to
grants us an additional 60 days so we can fully scope those
strategies out and determine the feasibility of those.
Q. You know that in August your Department asked for
additional time, Mr. Keating gave all sorts: of comments about
your plan, and that was last year, right?

MS. TILLMAN: Objection. Misstates the evidence.

THE COURT: No, he's asking him, not telling him.

BY MR. BIEN:

Q. Isn't it correct that in August of 2005 Mr. Keating
gave comments to you and your task force -~ I think the
letter was addressed to Jeanne Woodford -- talking about what

was wrong with the Department's plan for ICF beds, especially
the gap, the fact that the interim plan was missing?

A, Yes, I'm aware of that.

Q. Okay. So the Department has had a lot of time from

the Court to address this problem, hasn't it?

A. They have had some time to address this. That's
correct.
Q. Okay.

When Mr. Keating made his recommendations to the
Court about when your plan would be due -- your Bed Plan
would be due, you asked him to extend the time, I think it

might have been for an additional 30 or 60 days, from when he

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1 originally recommended the plan would be due; isn't that
2 correct?
3 A. That is correct.
4 Q. Okay.
5 And Mr. Keating, over plaintiffs’ objections, and
6. Judge Karlton, granted you that additional time; isn't that
7 correct?
8 A. Yes, it is.
9 MR. BIEN: I have no further questions.
10 THE COURT: Any redirect?
il MS. TILLMAN: We have nothing further, Your Honor..
12]. THE COURT: You may step down, sir.
13 Thank you.
14 . THE WITNESS: Thank you, Your Honor.
15 MS. TILLMAN: Your Honor, looking at page Il,
16 Subsection b, Intermediate Care, we'd like to present George
17 Sifuentes who is a facility's manager for the Department of
18 -Corrections to respond to those questions.
19 - THE COURT: Come around and be sworn, sir.
20 ' THE CLERK: Raise your right hand.
21 GEORGE SIFUENTES,
22 was thereupon called as a witness herein by the Defendants,
- 23. and having been sworn to tell the truth, the whole truth and
24 nothing but the truth, was thereupon examined and testified.
25 | as follows:

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clinical staff required for those facilities?
A. I can only address the second half because I think
Mr. Sifuentes addressed the building issues, but yeah,

Any of our hospitals, with the possible exception of
Metropolitan down in L.A., has challenges with hiring. And
it is something we all pay attention to all the time. And
it's going to be a challenge, but I think we've shown we can
pull it off.

We've done it for the 36 beds coming on-line next
month. -And I presume we're going to do the same thing.
Coalinga you didn't do it on time?

No, we didn't.
And Salinas Valley you didn't do it on time?
We did it on time for these 36 beds.

The original Salinas Valley was delayed?

» 9 bP Oo Bo

I didn't think it was staffing. I think Vic brought
it up by using registry staff, which we moved on and
converted to some of our staff. But we opened it with a
large number of registry nurses.
MR. BIEN: That's about it, Your Honor.

MS. TILLMAN: Nothing further, Your Honor.

THE COURT: You May step down, sir.

THE WITNESS: Thank you.

THE COURT: It's late, and we have to take a break,

but Mr. Bien you have suggested, among other things, that we

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join as a defendant the Director of the Department of Mental
Health.

I have no idea whether I have the legal authority at
this stage to do that. And I am ashamed to Say that I read
the decree yesterday just to remind myself how we got here,
and I do not recall whether or not it had the standard
language "these defendants and all of those persons acting in
concert with them," et cetera.

Do you recall that?

MR. BIEN: I can't say that, Your Honor.

THE COURT: That makes two of us. Don't be ashamed.
I read it, and I just don't remember.

Well, you know my view of it is that this is a --
ultimately, this is a problem of the State's, and the

Department of Mental Health is just one more piece in the

puzzle. And if I need to find a way to make them subject to

the Court's order, we'll find a way. And whether that's
appropriate or not I think is becoming clearer as we talk.
In any event, we'll take our recess.
What time would you like to convene tomorrow morning?
9:15 satisfactory to everybody?
I know you didn't contemplate being here tomorrow
SO --
MS. TILLMAN: That's fine, Your Honor.

THE COURT: Mr. Bien?

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MR. BIEN: |_Sure, Your Honor.
THE COURT: That will be the order.
(Off the record at 4:48 PM)

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_ REPORTER'S CERTIFICATE
~--000---

STATE OF CALIFORNIA )
COUNTY OF SACRAMENTO )

I certify that the foregoing is a correct transcript

from the record of proceedings in the above-entitled matter..

IN WITNESS WHEREOF, I subscribe this
certificate at Sacramento, California on this 14th day of
MAY, 2006.

CATHERINE E.F. BODENE,
CSR NO. 6926

CATHERINE E.F. BODENE, OFFICIAL COURT REPORTER, USDC
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EXHIBIT B

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
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BEFORE THE HONORABLE LAWRENCE K. KARLTON, SENIOR JUDGE

RALPH COLEMAN, et al.,

Plaintiff,
Vs. CASE NO. CIV. S-90-0520 LKK
ARNOLD SCHWARZENEGGER,
et al.,

Defendants.

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REPORTER'S TRANSCRIPT

THURSDAY, APRIL 27TH, 2006

RE: CONTINUED EVIDENTIARY HEARING RE MOTION FOR COURT ORDER

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Reported by: CATHERINE E.F. BODENE,
CSR. No. 6926

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APPEARANCES

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FOR THE PLAINTIFF:

ROSEN, BIEN & ASARO, LLP
155 MONTGOMERY STREET, EIGHTH FLOOR
SAN FRANCISCO, CALIFORNIA 94104

BY: MICHAEL BIEN,
ATTORNEY AT LAW

FOR THE DEFENDANTS:

STATE OF CALIFORNIA, DEPT. OF JUSTICE
OFFICE OF THE ATTORNEY GENERAL

1300 I STREET

SACRAMENTO, CALIFORNIA 95814

BY: LISA TILLMAN,
DEPUTY ATTORNEY GENERAL

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FOR THE DEFENDANTS:

EXAMINATION:

DOUG MCKEEVER (Previously Sworn)

Examination by the Court

GEORGE SIFUENTES (Previously Sworn)

Examination by the Court

Direct Examination by Ms. Tillman
Cross~Examination by Mr. Bien

Further Direct Examination by Ms. Tillman
Further Cross~Exam. by Mr. Bien

JOHN RODRIGUEZ (Previously Sworn)

Examination by the Court
Cross-Examination by Mr. Bien
Cross-Examinatin by Ms. Tillman

Direct Examination by Ms. Tillman

DR. PETER SZEKRENYI

Direct Examination by Ms. Tillman
Cross-Examination by Mr. Bien
Cont'd Cross-Exam. by Mr. Bien
Redirect Examination by Ms. Tillman
Recross-Examination by Mr. Bien

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FOR THE DEFENDANTS:
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SACRAMENTO, CALIFORNIA
THURSDAY, APRIL 27TH, 2006 — 9:15 A.M.
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THE CLERK: All rise.

Court is in session.

The Honorable Lawrence K. Karlton is presiding.

THE COURT: Please, be seated.

Good morning, Ladies and Gentlemen.

Folks, I would like to recall each of the witnesses
very briefly for a couple of questions which occurred to me >
last night.

Mr. McKeever, will you retake the stand, sir. I
promise you, I won't keep you up there very long.

WITNESS MCKEEVER: Okay, Your Honor.

(Doug McKeever, having been previously sworn, resumes

the witness stand.)

EXAMINATION BY THE COURT
BY THE COURT:
Q. Mr. McKeever, I understood the testimony to be that
there is some budget revision opportunity in May, that is you
can get supplements if you get your request in by May; is
that right or wrong?

Do I not understand?

A. My understanding is that there is what is callied the

May Revise Process.

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Q. And do you know when it would be necessary to
submit -- I gather the way you do that is you start by

submitting to the Department of Finance?

A; That be the first step. Yes, Your Honor.

Q. And do you know how long -- what am I trying to

ask -- when you would have to have the revision in to be
effective?

A. I don't know the exact date, but I do believe it is

coming up within the next few days, weeks.

We do have a representative here from the Department
of Finance that can probably address that question.

THE COURT: Thank you very much.

Do my questions require further inquiry?

MS. TILLMAN: No.

THE COURT: You may step down, sir.

Somebody from the Department of Finance, just --
Don't be sworn, just tell me. Just tell me.

MS. MANGUM: The May Revise is released ~-- is to be
released on May 12. We're still in the process of that.

THE COURT: I'm sorry, ma'am. You'll have to come to
the microphone. I cannot hear you.

MS. TILLMAN: Do you want her to appear at the
podium, Your Honor?

THE COURT: Will you state your name, ma'am?

MS. MANGUM: Sarah Mangum, M-a-n-g-u-m.

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THE COURT: You're from the Department.

MS. MANGUM: Department of Finance.

The May Revise is released on May 12. We are
currently in the process of reviewing it. We did already
receive most May Revise Proposals for the Department of
Corrections to review. However, we would consider, you know,
working with them to put forward any proposal that's
available.

THE COURT: What is the last date that they could get
information or a request to you that could possibly be
revised?

MS. MANGUM: I would have to speak with my management
to find out the last date, but I believe it would be in the
next week or so.

THE COURT: All right.

So that what would be required is an order from the
Court -- if it is beyond that date, an order of the Court to
at least consider it and process it.

MS. MANGUM: I don't believe an order of the Court
would be required. It may be required for us to pursue it
with the Legislature through a different vehicle than the
budget.

THE COURT: Okay. Thank you, ma'am.

Mr. Sifuentes, can I ask you to come back again for

just a moment.

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WITNESS SIFUENTES: Sure.

(George Sifuentes, having been previously sworn,

resumes the witness stand.)

EXAMINATION BY THE COURT
BY THE COURT:
Q. Mr. Sifuentes, you're going to have to forgive me. I
don't have the documents in front of me, and I'm easily
confused at this point.

As I understand it, you are in the process of
developing beds for Level IV inmates in Folsom; is that
correct?

A. No, not at Sacramento.

The proposals we have for Level IV, ICF inmates,
would be the proposals right now we have is to modify P-2 at
CMF, and to modify and add additional beds over at Salinas
Valley State Prison.

Q. Okay. Not at Folsom. There is something going on at
Folsom?
A; There is a project going on at Folsom. It is Sac. --

it is called the Sac. EOP Program.

In addition to that, they are adding a Correctional
Treatment Center which is going to provide some mental health
crisis beds.

Q. When will that -- when is it projected that will be

accomplished?

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A, My understanding is that that project will be done by

June 30th.
MS. TILLMAN: Your Honor, if I might interject, which
project?
WITNESS SIFUENTES: The CSP-Sacramento.
MS. TILLMAN: EOP? EOP?
WITNESS SIFUENTES: Yes.
BY THE COURT:
Q. You indicated there are beds going in at Salinas

right now for Level IV treatment cells, if you will; is that

right?

A. That's correct. We just completed renovation for 36
cells.

Q. And you're planning what?

A. At Salinas?

Q. Yeah.

A. Two projects at Salinas. Number one is a 64 bed ICF,

which is in addition to the 64 bed facility that's there.

That's one project.

Q. When is that going to be done?

A. The schedule, I believe, calls for it to be done in
2009.

Q. Okay.

A. And that's in the plan.

The second part of Salinas Valley had to do with

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converting some existing housing units that we have there at
Salinas and making them available for ICF. Unfortunately,
those can take as long to get done.

I mentioned yesterday that we did the 36 beds, and
then we had a proposal in the governor's budget to come back
and make those code compliant, as well as some other ones.
Q. _ If the Court ordered the state to expand the number
of units that you just put in, double them, you know, with
the same waiver provisions and going back later to get them
code compliant, how long would that take?

A. Well, the 36 beds at Salinas Valley took seven
months. So I would have to -- assuming it's the same
requirements, the buildings would be the same, I would tell
you seven to eight months.

Q. Ail right.

Talk to me about Corcoran. Assume that the Court
were to order Corcoran to accept Title IV, dangerous --
whatever we call them, high level, you know.

A. High~custody.

Q. Thank you. High level inmates. It would require, as
I understand from Mr. Rodriguez's testimony, a major change
in the physical plant because he says that they're all open
dormitories today.

A; is that correct?

MS. TILLMAN: Your Honor, if I might clarify, are we

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discussing Coalinga State Hospital?

THE COURT: What did I say?

WITNESS SIFUENTES: Corcoran.

THE COURT: I meant Coalinga.

MS. TILLMAN: That's Coalinga, high-custody Level IV?
BY THE COURT:
Q. Assume that I would do that. I'm not going to say
I'm going to do any of these things. I'm trying to
understand what my options are.

Are you familiar with Coalinga?
A. No. That project was designed and built by the State
Department of General Services for the Department of Mental
Health, and I believe they did the feasibility study that was
referenced.
Q. I want you to assume -- I don't know it so, but I
want you to assume that the present physical condition of
Coalinga is such that it's open dormitories, open rooms,
people wandering around the place, et cetera, and I ordered X
number of -- let's just put a number on it just to get some
sense of where we're going -- 30 Level IV, high-custody
prisoners to be housed there.

How long would it take to convert whatever there is

there, if you know, if you can even reasonably estimate?

A. I couldn't, Your Honor. I couldn't do that. I am

not familiar at all with Coalinga.

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THE COURT: Fair enough. If you can't, you can't.

Okay. I think that answers the question.

Thank you, sir. Will you step down.

WITNESS SIFUENTES: Sure.

THE COURT: Mr. Rodriguez, may I ask you to take the
stand again, sir. Again, it will be very brief.

I'm sorry. Before I do that, did my questions
require further questions by counsel?

No?

No?

MS. TILLMAN: No, thank you.

(John Rodriguez, having been previously sworn,

resumes the witness stand.)

EXAMINATION BY THE COURT
BY THE COURT:
Q. All right.

Mr. Rodriguez, will you please again list for me all
of the conditions which in your view contra-indicate the
placement of high-custody Level IV prisoners at Coalinga?

A. IT presume you're asking in terms of the individuals,
as well as the facility?

Q. Yeah.

A. I think you noted most of them in terms of its open
nature, the construction is built is to hospital standards as

opposed to correctional standards, and, you know, the

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You may proceed, Mr. Bien.

MR. BIEN: May I make an argument about that point,
Your Honor?

THE COURT: Yeah.

MR. BIEN: The issue is right now today we're dealing
with horrible compromises, and right now today there are
people on suicide watch who everyone agrees should be either
in a DMH facility or a crisis bed who are instead housed in
OHUs or even at Ad. Seg. cells. We attached that as one of
our exhibits.

THE COURT: I know.

MR. BIEN: So the question is, in the interim, how
can the Department put a proposal it doesn't provide staffing
to meet their own standard, even in these improper places.

We think, at minimum, they have to get the clinical
staff that they-know are necessary, even if they're in the
wrong types of facilities.

THE COURT: I understand your position.

Please, go on, sir.

BY MR. BIEN:

Q. Doctor, isn't it correct that your -- the Bed Plan
does not provide beds, even in 2011, for all the patients
that you expect are going to need Enhanced Outpatient Care?
A. I don't know the answer to that, to tell you the

truth. I have to refer to the document to Look at that.

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Offhand, I don't know that.
Q. But do you have that page that's called Closing The
gap? It's the chart?
A. What page are you referring to?
Q. I think it's your exhibit -- your Attachment 2; is
that right?
A. I don't have Attachment 2 to my filing.
Q. We'll get you a copy in a minute.

Are you aware that the Bed Plan submitted does not
provide all the beds that are projected to be needed for
Enhanced Outpatient in 2011?

THE COURT: He just said he didn't know.

BY MR. BIEN:
Q. You're not aware of that fact --
A. I'm not aware of that.

THE COURT: He's got to look at the document is what
he said.

(Document handed to witness for review.)

MR. BIEN: Your Honor, this is Enclosure 2.

THE COURT: I know.

MR. BIEN: I've handed the witness Enclosure 2 to the
Bed Plan.

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BY MR. BIEN:

Qs
A.
details

it, yes.

respond

it?

Are you familiar with this document?

Yes, I have seen the document. You talking about the

of it, no, I'm not. But generally I'm familiar with
But not the details of it.

Doug McKeever would be a more appropriate person to

if you have a specific question on it.

THE COURT: This is the document?

MR. BIEN: Right.

THE COURT: Yeah.

MR. BIEN: Your Honor, do you think we should mark

THE COURT: It's an exhibit.

MR. BIEN: It's an exhibit. All right. Okay.

BY MR. BIEN:

Q.

A.

Q.

' On the top line under EOP; do you see that?

First line?
Yes.

Right. Isn't it correct that shows that as of July

2011, if everything that the State is planning to happen

happens,

there will be a 1300 bed shortage for Enhanced

Outpatient?

A.

Q.

1336, yes.
1336 beds.

And that would be approximately, what, 20 or 30

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1 percent of the population would not have treatment care?
2 A. Uh-huh. Yes.
3 Q. Okay. Do you think it is appropriate for the
4 Department to propose a long-range plan to provide health
5 care that leaves a gap of 1300 beds in 2011?
6 A. Well, like I said to you, this whole process started
7 prior to my time coming in. I was not involved with this
8 process, doing this. But also you need to understand we have
9 started already a secondary process on our own identifying
10 EOP needs. So we intend to address that by the time we get
11 to that stage.
12 THE COURT: The question was somewhat different.
13 THE WITNESS: I'm sorry.
14 THE COURT: It really dealt with the mind set. [It
15 said -- I was about to say something very nasty.
16 Is it appropriate for the State to recognize that its
17 proposals will leave 1336 patients without appropriate care.
18 THE WITNESS: It should address all the needs.
19 That's correct. It agree with you, it should address it.
20 ‘THE COURT: I know you didn't do it. Can you explain
21 to me how this happened?
22 THE WITNESS: No, I can't. Like I said,
23 unfortunately, I was not in the process of this one, in doing
24 this thing. So I'm no the aware of that, no.
25 THE COURT: All right.

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BY MR. BIEN:
Q. Will you commit to us, Doctor, that the next plan we
see covers all of the needs that the State itself projects
for this patient population?
A. At the next --

MS. TILLMAN: I'm sorry. Objection. That's vague.
What next plan are we referring to?

I think we're here about --

THE COURT: The Doctor has just said that they are in
the process of revising the Bed Plan. And Mr. Bien's
question is a very straightforward one. Will the next
proposed Bed Plan actually address need?

THE WITNESS: Yes. I think the next proposed Bed
Plan that we talked about will be updated for the new
population base anyway. And a part of that one will be
addressing ali the needs.

THE COURT: Folks, we're going to take a 15 minute
recess.

I have an outside meeting. I'm probably going to
break at 11:30 and reconvene at 2:00. Is that -- I know
you're going to be gone for the meeting. Are we going to get
him done by 11:30?

MR. BIEN: Sure.

THE COURT: All right.

Am I inconveniencing anybody else?

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All right. That will be the order then.

(O£f the record at 10:41 a.m.)

(On the record at 11:00 a.m.)

THE CLERK: Please, remain seated.

Court is now in session.

THE COURT: Please, be seated everyone.

Mr. Bien, I am, as you obviously are, troubled by the
process by which the Department is always a year behind what
it needs.

I'm not sure if this hearing is the appropriate

hearing to address that, but it is clear to me, counsel, that

it's something we've got to think about and how to make it
stop happening.

I've sort of tried to cut you off from exploring that
because I'm not sure this is the right hearing, but I want to
assure you that I am as troubled by it as you are. And we're
just going to have to think about what else to do. So the
fact that I've told you let's get on with what this hearing's
about doesn't mean that I don't appreciate how right you are
about this being a process problem that's got to be solved.

Anyway, go ahead.

MR. BIEN: Thank you, Your Honor.

I won't belabor that point.

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BY MR. BIEN:
Q. Doctor, one of the things you've testified here today
is that you need to explore various options, at least for the
interim, to make sure that Department can do a better job in

providing care for mentally ill patients; is that correct?

A. Yes. For the short-term, yes. Address short-term
needs.

Q. And there's a short-term crisis?

A. Yes, there is.

Q. Okay. Have you explored obtaining short-term acute

psychiatric care in community hospitals as an option in
certain areas of the state?
A. We have not. Not to date, No.
Q. Why not?

THE COURT: Because they can't get them into the
state hospitals. How are they going to get them into a
private one?

I'm sorry. I didn't mean to -- but it's a --

BY MR. BIEN:

Q. I guess just to establish that that has not been
investigated?
A. It has not been investigated, no. It doesn't mean it

won't be, but it has not been to date, as far as I know.
THE COURT: May I interrupt? I want to ask a

different question.

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The Department of Mental Health, I mean, they're good
at it. They've managed to get their docs paid the same level
as your docs, despite the fact that they won't take the most
seriously ill folks. And we'll see whether that continues.

Is it your view that psychiatrists, dealing with
Level IV, high-custody are just, by the nature of things,
that's not in the -- that's not an attractive body of
patients, and there's got to be some inducement to get --
some extra inducement to get those folks treated?

THE WITNESS: Yes. My point of view is that people
working the CDCR, in a sense, should be deserving what I
consider to be combat pay. There should be some recognition
that the working conditions they are under, the workload, the
patients they are dealing with to a large extent are a lot
more hazardous and a lot more challenging, if you will, than
some of the counterparts in other places, yes.

THE COURT: All right. Go ahead.

BY MR. BIEN:

Q. You testified earlier about a DPA survey of
psychiatrist salaries. Do you recall that?

A. What I mentioned is DPA did a survey on a number of
positions, include psychiatrists in there, yes.

Q. Did they determine that the market rate for
psychiatric compensation was higher than what the CDC is now

offering?

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understand where we are. You know, why this is such a
problem.

What I think I want you to do is to file with the
court in a week, if that's convenient, an analysis of the
totality of the EOP picture versus the totality of the
proposed DMH program so that I can look at it and understand
what it is that's -- what it is that is really going on.

Actually, don't file it with me. File it with the
Special Master.

Is that all right with you, Michael?

File it with the Special Master.

Thank you, folks, for your help. .

THE COURT: I think that takes us through the Bed
Plan.

MS. TILLMAN: Did you want any additional information
on question 7, page 4, Acceleration of. CMF Construction?

THE COURT: I'm sorry.- On page 4?

MS. TILLMAN: Page 4, question 7:

What is the current projection for completion of the
50 bed facility at CMF and why can't it be expedited?

THE COURT: Yeah. I would like to be told that. I
don't -- if you can just tell me what's going on, fine. If
you need to put somebody on, do that.

MS. TILLMAN: I think Mr. Sifuentes is best

qualified, Your Honor.

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1 THE COURT: All right.

2 MS. TILLMAN: Thank you.

3 (George Sifuentes, having been previously sworn

4. resumes the witness stand.)

5 DIRECT EXAMINATION

6 BY MS. TILLMAN:

7 Q. Good afternoon, Mr. Sifuentes.

8 You heard the question. Do you have a response to

9 the Court's concern?

10 A. “Yeah. I don't want to get too long-winded, but

11 about -- when the order came out, one of the questions that
12 was raised is can you accelerate construction of the 50 bed
13 crisis beds at CMF.

14 Now, just from a historical perspective, that project
15 was appropriated a few years ago. And-when you ask for a

16 project, a brand-new project, you go to the Legislature and
a7 say, "Hey, I need this amount of money, it's going to take
18 this long to build." And when you prepare your budget, you
19 prepare it based upon certain project delivery methods.

20 And that is. the scope of the project, that is the

21 schedule of the project. And based upon that information,
22 people make decisions as to whether to appropriate the money
23 and authorize the project or not. In this case, we were

24 successful in getting the appropriation.

25 At the time the question was raised, "Can you

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accelerate the schedule," we already had a bid package out on
the street. We had met with contractors, and the bid date
was March 9th. So when it got raised to me, I was probably
60 days from bid date.

The only thing I could do was to issue what is known
as a bid addendum, which I did. But before that what I did
is I got the design team, and I got folks, some of my
construction people, and I said, okay, what can I do, given
I've got 60 days, and I want to be responsive to the Court.

What I felt I could do, and which I did, is I issued

a bid addendum asking all contractors who were interested in >

the project to give me the price by reducing the schedule by
60 days. Because in the document I sent out it had so many
days.

Now, the reason I can only do that is becatise current
State law says that if I go over 20 percent of an
appropriation for a project, I have to stop. And I felt that
any action that would take this project beyond 20 percent was
not an action that I thought would meet our objective that we
were trying to do.

So that's what I did. We sent it out. We got the
prices. And right now we have to augment the project by over
ten percent. It's being done. I expect to have this
project, which was originally scheduled for February of '08,

to be ready in December of '07. That's what I asked for.

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THE COURT: Thank you.

My questions -- Does this testimony require any
further examination? »

CROSS-EXAMINATION

BY MR. BIEN:
Q. Did anyone ask you to accelerate the project prior to
receiving this Court's order?
A. Yeah. What we had done -- one thing that happened to

this project, you may recall, Michael, is we found we had a
budget deficit in this project of over seven-and-a-half
million dollars. And we went back through Finance to the
Legislature to get additional money so we could continue.
And we got that and continued on with the design and tried to
get it out as quickly as possible.
Q. So in other words, prior to when you originally
started the project and you went over budget before you even
started building, then you had to go back and it got delayed?
A. Right.
Q. Okay. My question is before the Court order, did
anyone ask you to accelerate this project?

In the last six months has anyone said, "Before you
go out to bid --"
A. No. Not in the last six months, no.
Q. And if you got authority to, let's say, increase the

budget by 30 percent, could it be accelerated even quicker?

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A. At this point in time?

THE COURT: Yeah.

THE WITNESS: From today forward?

THE COURT: Yeah.

THE WITNESS: It's a possibility.

MR. BIEN: Thanks.

THE COURT: Thank you, sir.

I think that I need counsel to advise me about what
I've heard today and what I ought to be doing about what I've
heard today. And I want to ask counsel -- I don't have to
tell you I'm in a hurry, but I want to do it right. |

And I want to invite counsel, if you'll come to the
podium, both of you, to advise me about whether getting it
right can be done from argument.

When I say "getting it right," I'm going to take
everything except what I've ordered today under submission.
I don't think I need ~- well, I need you to advise me as to
whether you think briefing would be helpful or whether oral
argument on the basis of what we heard will be sufficient.

Mr. Bien, what is your view, understanding the
Court's concern about getting orders out. on an accelerated
basis?

MR. BIEN: TI think a lot of things have come before
the Court in two days, and I think it would be useful to go

over some of them. I also think that we should get some

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clarification here today as to exactly what has been
committed to and what's going to happen in the future.

So I think that it would be useful, and there may be
some need -- for example, you asked me yesterday to remind
you about whether DMH needs to be added as a defendant.

THE COURT: I've already decided, I think.

MR. BIEN: And I think defendants have some news on
that that they wanted to share with you.

THE COURT: All right.

MR. BIEN: But I think there are some things that
would be useful perhaps after we -- and some things just to
go over at least for a few minutes with argument from each
side. And then, you know, I think we already have done a bit
of briefing. I guess we feel a lot of urgency in terms of
missing the boat that's leaving.

THE COURT: So does the court. I'm very anxious
about the May thing. Although, Finance has indicated to me
that it is possible to go back to the Legislature -- I am
correct that -- Yeah. So it is possible.

I assume it gets more difficult the longer we take,
but that -- you know ~- you know, we are where we are. And
if it is possible -- you know, on the one hand we have this
great urgency, and on the other hand, you know, it's foolish
to issue orders that either can't be complied with or don't

make any sense in light of our needs.

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I mean, it is easy for me to say you will not close
the LOU because it is just difficult to understand why
anybody would do that, other than they were obeying a state
court action or order and I understand that. But somebody
should have gone to the State and said you got no place to
put these people. You understand what I'm saying.

MR. BIEN: It may even be that order needs some
clarification because as far as I know the LOU closed almost
a year ago.

THE COURT: It will reopen. It will -- If it is
closed now -- I thought it was proposed to be closed?

MR. BIEN: They're proposing to reopen it.

THE COURT: It will be reopened. They will promptly
do whatever it is necessary to get it reopened and get people
into those beds, including staffing and whatever else has to
be done.

I don't know how to say that any clearer.

But you're right, maybe we need a little bit of both.

MS. TILLMAN: If I might speak, Your Honor?

THE COURT: I would like very much to hear from you.
And I must say I really appreciate your help. It's very nice
when both lawyers are really good and really helpful.

Tell’ me what you think about oral argument, briefing,
or what we need to do?

_ MS. TILLMAN: At this point, Your Honor, I think the

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defendants would very much appreciate the Court issuing an
order indicating that it has reviewed, approved and adopted
as an order of the court the long range plan that was
indicated in the Bed Plan.

THE COURT: That I can do. And I'm satisfied, I
think ~- although I'll hear from plaintiffs -- I think the
long range plan is appropriate, feasible and I will approve
it. And do you have objection to my doing that?

MR. BIEN: Our suggestion was that it be approved,
but with the proviso it needs be revised because of the
population.

THE COURT: Obviously. We all agree to that. I
don't think there is any doubt about that. But beyond that,
you're satisfied? I intend to do that.

MS. TILLMAN: Thank you.

THE COURT: All right.

Now, let's talk about the immediate problem. What do
I do, and in regard to that what is the pleasure of the
defendants concerning oral argument, briefing or both?

MS. TILLMAN: At this point, I don't see the need for
oral argument unless we do provide some briefing. I think
the defendants would very much again appreciate an order
indicating that we have 60 days to come up with better
strategies to deal with the short-term gap.

THE COURT: You see, I agree I have to give you some

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time. I agree with that. And 45 days I suppose I have to
live with because people can only do what they can do.

The problem is I keep finding things, just in the
course of this hearing, which you can do now that you don't
need an order from the court, you don't need a long range
plan.

I mean, I find it -- and I'm not criticizing. I know
T am. But I don't mean it personally. But it's just
inconceivable to me that the LOU got closed a year ago and
nobody went to the state court and said, "You know, this is
impossible, we don't have any place to put these sick
people."

MS. TILLMAN: If I might say, Your Honor, I
personally need to take a second look at that LOU issue. My
understanding -- you know, obviously I am not qualified to
state all the facts, but I thought it had been closed
before -- well before a year ago based upon concerns voiced
by the plaintiff class in Budd.

So I'm very happy to take a second look at the LOU.
I think that was one of the strategies indicated in the Bed
Plan to take a look at the LOU and see if we could open it up
for care purposes. But we will pursue that immediately.

THE COURT: You will, I will tell you.

MS. TILLMAN: We're also happy to provide a list of

code issues so the Court's familiar with what barriers _

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exist.

THE COURT: I need to know that.

MS. TILLMAN: And then, again, perhaps a written
order that we can take to the Budd court indicating this
court's concerns about licensing as a barrier to full use of
facilities would be helpful.

THE COURT: We can do that as well.

Let me talk to -- I'm going to take a ten minute
recess. I want to talk to my law clerks and Special
Master.

MS. TILLMAN: Thank you.

(Off the record at 02:34 PM)

(On the record at 02:50 PM)

THE CLERK: Please, remain seated.

Court is now in session.

THE COURT: Folks, let me first of all say that the
simplest thing is in order to accommodate Judge Henderson's
schedule, the Plata hearing you heard about will commence at
1:30 instead of 10:00 or whatever we told you. There will be
an order out telling you that.

I'd like counsel to approach the podium, and I want
to tell you what my tentative thoughts are and urge you to
talk to me now because I don't think I'm going to wait unless
I really hear a good reason to have written briefs.

First of all, of course the Court intends to approve

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centers.

I'm going talk to Mr. Riveland Friday. I know you're
not the lawyer for Valdivia.

Mr. Bien, I am -- I want to talk to Mr. Riveland, but
I'm inclined to think we have to have a hearing and see
what -- well, I want talk to him first and see what his views
are.

MR. BIEN: I think that Miss Tillman's suggestion of
a joint hearing is important because Valdivia doesn't have
clinicians, doesn't have -- you are talking about a due
process hearing system. So, you know, once they're in the
gate, once they're inside of the prison, it's difficult.
There needs to be some coordination.

THE COURT: I understand. But I had -- I don't know
why I had the idea that we were -- that one of the important —
benefits of Valdivia was that there was going to be some
effort to provide hearings in which alternatives to
imprisonment for violations were going to be developed at the
local level.

I thought that was one of the expectations of the
order.

MR. BIEN: We did to. It says it. It says it in the
injunction.

THE COURT: But nothing happened?

MR. BIEN: That's what they decided, it wasn't a good

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thing. You know, they had pressure from various places.
And, you know, that was -- remember it was the attachment to
the injunction rather than the injunction.

Anyway, it's fits and starts.

THE COURT: Well, we'll have to -- Okay. We'll have
to think about what to do about that.

Anyhow, I think that's as far as I'm going to go.
You can't be responsible for the fact that people are
being -- of course you can be, but it's not your primary
concern that people are being returned at a rate that doesn't
make any sense for a period of time that doesn't make any
sense. But I do want: you to look into some developing of a
plan within three months for treatment of those persons who
are.there within 60 days.

You might want to consider, folks, the suggestion
made by the Special Master which is to get some
classification officer actually in the process of trying to
resolve whatever classification problems are causing the
delay. That seems to be at least -- apparently that's a
contributing factor. So you might want to look at that.

All right. That disposes of the two objections.

Not very satisfactory dispositions, but the best we
can do under the circumstance.

We'll now go off the record.

(Discussion held off the record.)

CATHERINE E.F. BODENE, OFFICIAL COURT REPORTER, USDC
(916) 446-6360

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(Off the record at 4:15 p.m.)

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CATHERINE E.F. BODENE, OFFICIAL COURT REPORTER, USDC
(916) 446-6360

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REPORTER'S CERTIFICATE
-~-000---

STATE OF CALIFORNIA  )
COUNTY OF SACRAMENTO )

I certify that the foregoing is a correct transcript

from the record of proceedings in the above-entitled matter.

IN WITNESS WHEREOF, I subscribe this
certificate at Sacramento, California on this 14TH day of
MAY, 2006.

CATHERINE E.F. BODENE,
CSR NO. 6926

CATHERINE E.F. BODENE, OFFICIAL. COURT REPORTER, USDC
(916) 446-6360 .

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EXHIBIT C

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Enclosure XI

Status of Funding for

Acute, Intermediate and Mental Health Crisis Bed Plan

Capital Outlay Proposals Submitted to the Legislature March 30, 2006

Finance Letter Process

Each Spring, the Administration proposes adjustments to the proposed Governor's
Budget in accordance with Government Code Section 13308. These adjustments. are
submitted to the Legislature through what is called the Finance Letter process. The
Department of Finance sends a letter to the Legislature that details the adjustments
requested for each department and item of appropriation. These letters are typically .
accompanied by detailed backup information in the form of a Budget Change Proposal _
(BCP) that was developed by the department seeking an adjustment.

On March 30, 2006, Finance Letters were submitted to the Legislature requesting

additional funding for several capital outlay projects in response to the concerns raised

by the Coleman court related to the number of beds available. for inmates needing to be

treated in an Intermediate Care Facility (ICF), Acute Care Facility, and in an Enhanced

Outpatient Program (EOP). The specifics of these proposals are outlined below, and for
- your reference, we have attached the Finance Letter submitted to'the Legislature.

_ Proposals to Increase the Number of Intermediate Care and Acute Care
Beds .

Through the March 30, 2006, Finance Letters, the Department of Corrections and
Rehabilitation (CDCR) requested preliminary plan funding for acute and intermediate
mental health care facility projects. These projects would allow the Department to.
_ - construct facilities to house seriously mentally ill inmates that require an inpatient level of
_ care. The statewide need for licensed mental health beds based on Fall 2005
population projections indicates a shortage of 356 acute care mental health male beds,.
301 intermediate care mental health male beds for Level IV high custody inmate-
patients’, arid 19 acute/intermediate care mental health female beds by June 30; 2011.
These facilities would provide for additional onsite mental health inpatient treatment for
the rapidly growing statewide population of inmates requiring inpatient mental health
care beyond the short-term crisis level of care. The following. information summarizes
the proposals submitted to the Legislature on March 30, 2006, requesting funding to
begin planning and construction of these beds: a

* $14,972,000 forthe. preliminary plans in 2006-07 for'a 350-Bed acute mental
health facility at Califomia State Prison, Sacramento (CSP-Sac). This project is
estimated to be completed in 2010-11 and cost an estimated $289,000,000 in
total. ,

" Sum of 153 bed deficiency and 148 temporary beds (36 at the Califomla Medical Facllity and
112 at Salinas Valley State Prison). .

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* .$7,689,000 for the preliminary plans in 2006-07 for a 128-Bed intermediate care
facility at CSP-Sac. This project is estimated to be completed in 2010-11 and
cost an estimated $101,000,000 in total.

-e $8,405,000 for the preliminary plans in 2006-07 for a 128-Bed intermediate care
facility at Salinas Valley State Prison (SVSP), Monterey. This project is
estimated to be completed in 2010-11 and cost an estimated $111,000,000 in
total

e $4,514,000 for the preliminary plans in 2006-07 for a 64-Bed intermediate care
facility at California Medical Facility (CMF), Vacaville. This project is estimated
to be completed in 2010-11 and cost an estimated $59,000,000 in total.

6 $2,172,000 for the preliminary plans in 2006-07 for a 25-Bed acuite/intermediate
care facility at California Institution for Women (CIW), Frontera. This project is
estimated to be completed in 2010-11.and cost an estimated $34,000,000 in
total.

These proposals are in addition to the following Administration proposals that were
reflected in the. Governor's Budget submitted to the Legislature on January 10, 2006,
which have been previously identified to the court: , -

e Funding for.a 36-Bed permanent conversion to intermediate care at CMF, which
_ is estimated to be completed in 2009.

e Funding for a 112-Bed permanent conversion to correctional treatment center
beds, with temporary use as an intermediate care facility at SVSP, which is
_ estimated to be completed in.2009. ,

As previously identified to the court, in addition tothe proposals reflected in the
Governor's Budget and the March. 30, 2006 Finance Letters, the Department is
-expanding mental health. treatment capacity through the following projects that are
currently underway:

e -36-Bed temporary conversion to intermediate care at CMF until May 2006 funded
through the minor capital outlay program. Presently these beds are occupied
with a planned transfer of these inmate-patients to SVSP,: at a rate of

- approximately five inmate-patients per week, starting May 1, 2006.

* 36-Bed temporary conversion to intermediate care at SVSP available beginning
May 2006 funded through the minor capital outlay program. This project is
progressing with anticipated occupancy of this facility beginning May 1, 2006,
and is part of the 112-Bed activation referenced above.

* 64-Bed intermediate care facility at SVSP Included in the 2005 Budget Act. This
facility will have single cells for Level IV. high custody inmate-patients. This
project is currently funded and approved with an anticipated construction -
completion date of March 2009.

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. Insum, these proposals will provide the CDCR, by 2010-11, 525 permanent male acute
beds (shortage of 6), 448 permanent male. intermediate care beds for Level IV high
security inmate-patients (surplus of 1 9), and 55 permanent female acute/intermediate

_ Care beds (surplus of 6) all based on Fall 2005 population figures. ,

Proposals to Increase the Enhanced Outpatient Program Space

Through the March 30, 2006, Finance Letters, the CDCR also. requested preliminary
plan funding for EOP treatment and program space. While the court has not specifically
ordered a response in this. area, the court has criticized the Department for inadequate
treatment space for. the EOP in previous monitoring reports and the bed: planning
process identified a need for additional EOP beds. This proposal is: an effort to.
proactively address this need through increasing program and treatment space at three
institutions. The following information summarizes the proposals submitted to the
Legislature requesting funding to begin planning and construction of this program space:
* $250,000 for the preliminary plans in 2006-07 for program and treatment space
for 180 EOP inmates at Mule Creek State Prison (MCSP), fone, This project is
estimated to be completed in 2010-11 and cost an estimated $2,700,000 in total.

' ¢ $250,000 for the preliminary plans in 2006-07 for program and treatment space

_ for 150 EOP inmates at California State Prison (CSP-LAC), Los Angeles. This

_ Project is estimated to -be completed in 2010-11 -and cost an estimated
$2,700,000 in total. oO

¢ $250,000 for the preliminary plans in 2006-07 for program and treatment space
for 384 EOP inmates at CSP-Sac, This project is estimated to be completed in
2010-11 and cost an estimated $5,600,000 in total.

in addition to the proposals reflected in the March 30, 2006, Finance Letters, the
Department is currently planning to add EOP beds through the conversion of existing —
_ general population beds. The following summarizes these efforts:

e Add 115 new EOP beds at MCSP for Level IV inmate-patients, which are
estimated to be completed January of 2007. ,

e Add 180 new EOP beds at MCSP for Level III inmate-patients, which are
estimated to be completed by January of 2007. a

e Add a total of 192 new EOP beds at CSP-Sac. Add 96 of these beds by July of

. 2006 and the remaining 96 beds by October 2006. oo

e Add 150 new EOP beds at CSP-LAC, which are-estimated to be completed June _
of 2011.

Combined, these projects will add 637 EOP beds by 2010-11, decreasing the estimated
shortfall for these type of beds from 1973 to 1336. 7

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Enclosure XI

Staffing for Proposed.New Beds

Department of Mental Health Clinical Staffing for Male Intermediate Care
and Acute Care Beds , .

The Department of Mental Health (DMH) has agreed to provide clinical Staffing for the
proposed ICF and Acute Care facilities for male inmates identified in the CDCR Capital
Outlay Finance Letters submitted to the Legislature on March 30, 2006. This is in
addition to the BCP included in the Governor's. Budget to expand the ICF program at
SVSP by 36-beds. oe a

In order to determine the acceptable sites for these proposed projects the ability for
MH to hire and operate these facilities was considered, During this process, site
considerations included the following factors:

_ ¢ All of the male prisons are Consolidated Care Centers.

‘© ©All of the institutions ‘are located in areas in which there js greater potential for
acquiring necessary clinical ‘Staffing. .

e DMH already provides ICF and Acute Care services at two of these sites.

“« The three male institutions are geographically situated to accept referrals for CF and
Acute Care that come primarily from five prisons.

¢ The-cultures of these institutions, given their experience with providing: mental health -
care, are. amenable to growth and proper accommodation of the needs of the inmate-
patients that will be treated in these new facilities.

‘The estimated cost of providing DMH staff Specifically tied to these Capital outlay project
related facilities, based on current ‘staffing ratios and salaries are as follows:

CSP-Sac - 350 Acute Beds = $60,316,000 and 620.0 positions
. CSP-Sac - 128 ICF Beds = $18,286,000 and 198.0 positions

CMF - 64 ICF Beds = $10,054,000.and 104.0 positions
.SVSP - 128 ICF Beds = $14,133,000 and 172.0 positions —

In order.to receive funding necessary to begin staffing these facilities as construction is |
completed, DMH anticipates Submitting funding requests through both the BCP and the
estimate process beginning with Fiscal Year 2007-08. and each year thereafter until full
activation of the three facilities (SVPP, CMF-VPP, CSP-Sac) is completed. The
requests will include the positions needed for that ‘phase of activation as related to

_ design, licensing, recruitment, program development, training and orientation for each

~ fiscal year. The activation plan will be similar to the phases used in the initial activation
of Salinas Valley and Coalinga. So a

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Department of Corrections and Rehabilitation Staffing for Proposed Beds |

The estimated cost of providing CDCR custody Staff atthe Intermediate and Acute Care
facilities for male inmates specifically tled to these capital outlay project related facilities,
based on current staffing ratios and salaries are as follows:

CSP-Sac - 350 Acute Beds = $10,914 4,000 and 156.7 positions
CSP-Sac - 128 ICF Beds = $4,936,000 and 70.4 positions
CMF - 64 ICF Beds = $2,727,000 and 38.9 positions

SVSP - 128 ICF Beds = $4,943,000 and 70.4 positions

The estimated cost of providing increased CDCR custody and clinical staff at the
institutions where there will be an increase in EOP treatment and Program space for
male inmates (as identified in the March 30, 2006 Finance Letters) specifically tied to
these capital outlay project-related facilities, based on current Staffing ratios and salaries
are as follows: oO

MCSP ~ 180 EOP Inmate-Patients =$414,000 and 9.5 positions
CSP-LAC — 150 EOP Inmate-Patients =$414,000 and 9.5 positions
_ CSP-Sac - 384 EOP Inmate-Patients =$2,552,000 and 24.8 positions _

it should be noted that these projects for EOP treatment and program space are an
adjunct to the aforementioned projects adding 637 EOP beds at these prisons through
the conversion of.existing general population beds at these prisons, ,

‘The estimated cost of providing CDCR clinical staff at the proposed Intermediate and
Acute Care facility for female inmates Specifically tied to these capital outlay project
-telated facilities has not yet been finalized, however preliminary information shows that

approximately 12 clinical staff will be needed when this facility opens. -

CDCR staff associated with the proposed new facilities would be budgeted through the
population projection adjustment process that occurs during the annual budget process..

. As new beds and institutions become available, or the type of population .changes in
existing institutions, the Department prepares an activation schedule for the staff needed
to operate those beds once they are occupied. The resources needed for these
positions are then proposed as a population adjustment in the. budget and updated ‘if

_ necessary due to changes in number of inmates, schedule, or mission, For any given
fiscal year this projection is updated four times based on updated data. For example,
the year-end - projection for fiscal year 2005-06 was first developed in September of
2004, it was updated in May 2005, again in September 2005, and will be updated one
more time in May of 2006. Although these updates adjust the total level of Staffing and
funding available to CDCR for Staffing needed at year end, the process permits CDCR to

. Staff at the appropriate level, based on the number and type of inmates, at any. point in
time. ,

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Summary of Legislative Approval Process and General Timeframes

Legislative appropriation of funds through the Budget Act is required before CDCR will |
be authorized to begin implementation of the projects requested through the Governor's

-. Budget and the Finance Letters described above. The general process and timeframes
for Legislative. approval are the following:

Budget Subcommittees :

The Budget Subcommittee in each house that is responsible for the CDCR budget must
hear and approve or deny the Finance Letters submitted. If the subcommittee does not
specifically put the Finance Letter proposals on.their agenda. and take an action-on the
Proposals, by default, they are denied. The subcommittee process is typically completed
during the 3° week of May.

_ Budget Committees oo ,
The full Budget’ Committee in each house must act on the subcommittee
recommendations in order for the Budget Bill to be amended and moved to the floor of
each house for deliberation. This typically occurs during the last week of May.

House Floor , .
The. members of each house vote on the amended Budget Bill. This typically occurs
' during the last week of May.

Conference Committee se
‘Each house approves its own version of the Budget Bill. In order to resolve differences
between the houses, a Conference Committee consisting of members from both houses
is established to hear the differences and seek agreement on the final form of the bill.
This typically occurs during the first week or two of June.

House Concurrence with Conference Report

‘The conference committee reports its recommendations to both houses, each of which
must adopt an identical budget bill before it can be sent to the Governor for signature,
‘Under the State Constitution, the Budget Bill’ must be passed by the Legislature by

‘Midnight on June 15". Historically, this deadline has often not been met.

» Governor's Signature Se
Once the Budget Bill is enrolled and sent to the Governor for signature he has 12 days
to act on the bill. The Governor has the ability to make line-item vetoes of items of
appropriation.

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Enclosure XI
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&, ae . AN . ‘ ARNDLO SCHWARZENEGGER, GOVERNOR
Siran STave CAPITOL @ ROM 1145 B SACRAMENTO CA Mf 950 14°40998 @ www,.Dor.ca. GOV

MAR 3 0 2006

Honorable Wesley Chesbro, Chair
Senate Budget and Fiscal Review Committee

Attention: ‘Mr, Danny Alvarez, Staff Director (2)

Honorable John Laird, Chair _
Assembly Budget Committee

Attention: Mr. Christopher W. Woods, Chief Consultant (2)

Amendment to Budget Bill Item 5225-301-0001, and Addition of Items 525-301-0660,
5225-301-0751, and'5225-496, Capital Outlay, Department of Corrections and
‘Rehabilitation

It is requested that Item 5225-301-0001 be increased by $85,141,000 to reflect the following:

1. Decrease $1,005;000 for working drawings for a statewide Juvenile Justice fire protection
sprinkler system.: The préliminary plans for this project have been delayed because of a
poorly defined scope and the overarching concem of how this project would fit into future
funding requests for Juvenile Justice reform. uO .

| 2. Decrease $300,000 for construction of small management yards at Mule Creek State
_. ’ Prison, California State Prison, Solano, Wasco State Prison, and Richard J. Donovan
Correctional Facility. There were cost increases in materials and labor which prompted the
Department of Corrections and Rehabilitation (Department) to push out the funding for the
fifth institution originally funded at North Kern State Prison to a future year resulting in —
savings in 2006-07, - oo, .

3. Increase $4,323,000 for construction of a groundwater treatment and non-potable water
distribution system at Deuel Vocational Institution (DVI), Tracy. The Increased costs are
primarily attributed to the Inability to find an onsite source of fill material at either DVI or
DVI-East, formerly known as Northern Califormia Women's Facility, and the resulting need
-__ to bring in material from outside the area. .

4. . Increase $2,327,000 for working drawings and construction of a new wastewater treatment
plant at DVI, Tracy. The Department used a 3 percent escalation factor when estimating

the project costs rather than the allowed 5 percent escalation factor resulting in the need’
for additional funds. . oe

5. Increase $975,000 for preliminary plans, working drawings, and construction of an

__ @lectrical power substation at DVI, Tracy. The costs increased as a larger substation is
-Needed to meet the increased electrical loads anticipated from the groundwater treatment
and non-potable water distribution system project at the facility.

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6, Increase $50,000 for preliminary plans for an electrified fence at the Central facility at the

California Institution for Men (CIM), Chino. The additional costs are necessary because of
the complexity of the Environmental Impact Report relative to CIM's proximity to the
encroaching housing developments, and the Department of Fish and Game's concerns
over damage to birds and other wildlife.

7. Increase $2,066,000 for construction of a potable water distribution system upgrade at —
California Men's Colony, San Luis Obispo. The Department used a 3 percent escalation
-factor when estimating the project costs rather than the allowed 5 percent escalation factor

resulting in the need for additional funds.

8. Increase $5.0 million for statewide minor projects. The additional funding is to be used to
address space needs identified as part of the Farrell lawsuit. In November 2004, the State
‘of California entered into a consent decree in the Farrell lawsuit concerning mandated _
' educational and programmatic obligations to the youth offender population. The
$5.0 million in minor funding for 2006-07 and the recommended $4.2 million in 2007-08
would help satisfy court deficiencies for increased staffing and programming space.

9, Increase $44,000 for working drawings of a wastewater treatment plant at California State
Prison, Corcoran. The increase in costs is associated with the electrical system requiring
‘more design effort than originally estimated because of the need to change out the existing
transformer. .

10. Increase $138,000 for working drawings of a wastewater treatment plant at California State
Prison, Centinela, Imperial. The increase in costs Is attributed to the increased rates for
the design consultants and additional engineering work required for supporting the permit
modifications. oo oe

11. Increase $1,484,000 for construction of an arsenic removal project from the potable water
supply at High Desert State Prison/California Correctional Center, Susanville. There were
additional costs related to the trenching and the backfill of the pipeline. In addition, the
Department used a 3 percent escalation factor when estimating the project costs rather
than the allowed 5 percent escalation factor.

12, Decrease $1,690,000 for preliminary plans of a heating, ventilation, and air conditioning
system at Ironwood State Prison, Blythe. As the bids came in much higher for the same
project at the neighboring Chuckawalla Valley State Prison project, it is recommended by
the Department to push the funding for this project back a year to see the initial bidding
results for the project at Chuckawalla Valley State Prison.

13, Add:$14,972,000 for preliminary plans of a 350-Bed acute mental health facility at
California State Prison, Sacramento, This projéct.is recommended In response to an order
~ from the Coleman court resulting from the 15" round of monitoring by the court's special
master. This project would allow the Department to construct a facility to house seriously
mentally ill inmates that require an inpatient level of care. The statewide need for licensed
. acute-care mental health beds based on current population projections indicates a
shortage of 320 beds by June 30; 2011. This facility would provide for additional onsite
mental health inpatient treatment for the rapidly growing statewide population of male
inmates requiring inpatient mental health care beyond the short-term crisis level of care.

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14. Add $7,689,000 for preliminary plans of a 128-Bed intermediate mental health care facility
at California State Prison, Sacramento. This project is recommended in response to an
order from the Coleman court resulting from the 15" round of Monitoring by the court's.
special master. This project would allow the Department to construct a facility to house
seriously mentally ill inmates that require an inpatient level of care. The statewide need for

licensed intermediate mental health care facility beds based on current population

- projections indicates a shortage of approximately 300 beds by June 30, 2011. This facility
would provide for additional onsite mental health inpatient treatment for the rapidly growing
Statewide population of male inmates requiring inpatient mental health care beyond the

' Short-term crisis level of care.

15. Add $8,405,000 for preliminary plans of a 128-Bed intermediate mental health care facility
at Salinas Valley State Prison, Monterey. This project is recorimended in response to an
order from the Coleman court resulting from the 15” round of monitoring by the court's
special master. This project would allow the Department to construct a facility to house
seriously mentally ill inmates that require an inpatient level of care. The statewide need for
licensed intermediate mental health care facility beds based on current population -
projections indicates a shortage of approximately 300 beds by June 30, 2011. This facility
would provide for additional onsite mental health inpatient treatment for the rapidly growing

' Statewide population of male inmates requiring inpatient mental health care beyond the

Short-term crisis level of care. a ot

16. Add $4,514,000 for preliminary plans of a 64-Bed intermediate ‘mental health care facility at
California Medical Facility, Vacaville. This project is recommended in response to an order
from the Coleman court resulting from the 15" round of monitoring by the court's special
master. This project would allow the Department to construct a facility to house seriously
mentally ill inmates that require an inpatient level of care. The statewide need for licensed
intermediate mental health care facility beds based on current population projections
indicates a shortage of approximately 300 beds by June 30, 2011. This facility would -

~ provide for additional onsite mental health Inpatient treatment for the rapidly growing
statewide population of male inmates requiring inpatient mental health care beyond the
short-term crisis level of care.

17. Add $2,172,000 for preliminary plans of a 25-Bed acute/intermediate care facility at the
California Institution for Women, Frontera. This project is recommended in response to an
order from the Coleman court resulting from the 15" round of monitoring by the court's

_. Special master. This project would allow the Department to construct a facility to house
seriously mentally ill inmates that réquire an inpatient level of care: The statewide need for
‘licensed intermediate mental health care facility beds for women based on current
population projections indicates a shortage of approximately 19 beds by June 30, 2011,

18. Add $250,000 for-preliminary plans of a'150-Bed enhanced outpatient program for
treatment and program space at Mule Creek State Prison, lone. The Department has
identified a deficiency of enhanced outpatient program beds and associated program
space. This proposal is not in response to an anticipated court order. However; the court
has criticized the Department for inadequate treatment space for the enhanced outpatient
program in previous monitoring.

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19. Add $250,000 for preliminary plans of a 150-Bed enhanced outpatient program for

20, Add $250,000 for preliminary plans: of a 350-Bed enhanced outpatient program for
- treatment and program space at California State Prison, Sacramento. The Department
. has identified a deficiency of enhanced outpatient program beds and associated program

. Space. This proposal is not In response to an anticipated court order. - However, the court
- has criticized the Department for inadequate treatment space for the enhanced outpatient
- Program in previous monitoring. ,

21. Add $750,000 for studies to potentially retocate the reception centers from three older
._ institutions (San Quentin, Deuel Vocational Institution, and California Institution for Men) to
three newer institutions (California State Prison, Solano, Pleasant Valley State’Prison, and
California State Prison, Los Angeles) respectively. This is consistent with the mission of
' .the Department to house inmates in'a safe manner. - :

22. Add $2,477,000 for construction of an arsenic.removal water treatment system project at

the refined cost estimates showed there were not enough funds to construct the project.
Specifically, the costs of the specialized equipment to house the arsenic removal

than expected and is being reverted (Issue 642).

It is requested that Item 5225-301-0751 be added in the amount of $1,491,000 for construction
Of a bar screén project at Pleasant Valley State Prison, Coalinga. The existing 'lift station is
unable to effectively remove bulky debris from the wastewater before it is pumped to the
wastewater plant, and could start facing noncompliance citations from their respective Regional
Water Quality Control Board. The existing funding for the project is being reverted (Issue 642)
as the updated working drawings show that the existing appropriation Is Insufficient to finish the
project, -

It is requested that Item 5225-496 be added to revert the unencumbered balances of the
following:

1, Item 5225-301-0001, Budget Act of 2005, for preliminary plans of a statewide fire sprinkler
system for Juvenile Justice. : -

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®
Item 5226-301-0001, Budget Act of 2008, for. construction of an arsenic removal water

treatment system at Kern Valley: State Prison, Kern,

Item 5225-301-0660, Budget Act of 2005, for construction of a heating, ventilation, and air
conditioning system at Chuckawalla Valley State Prison, Blythe,

item 5225-301-0751, Budget Act of 2005, for construction of a bar screen, prelift station at
_ Pleasant Valley State Prison, Coalinga.

The effect of my requested action is reflected on the attachment. .

if you have any questions or need additional information regarding this matter, please call

_ dim Martone, Principal Program Budget Analyst, at (916) 445-9694.

.| MICHAEL C, GENEST . .

_Director

“Wsnamt # Br

VINCENT P. BROWN
Chief Deputy Director -

Attachment .

ce:

~ Honorable Kevin Murray, Chair, Senate Appropriations Committee

Attention: Mr. Bob Franzoia, Staff Director co
Honorable Dennis Hollingsworth, Vice Chair, Senate Budget and Fiscal Review

Committee , . ~

Attention: Mr. Jeff Bell, Staff Director

_ Honorable Judy Chu, Chair, Assembly Appropriations Committee

Attention: Mr. Geoff Long, Chief Consultant

_ Honorable Rick Keene, Vice Chair, Assembly Budget Committee

Attention: Mr. Peter Schaafsma, Staff Director
Honorable Michael Machado, Chair, Senate Budget and Fiscal Review
Subcommittee No. 4 oo
Honorable Rudy Bermudez, Chair, Assembly Budget Subcommittee No. 4
‘Ms. Elizabeth Hill, Legislative Analyst (4) oo
Ms. Diane Cummins, Senate President pro Tempore's Office
Mr. Craig Cornett, Assembly Speaker's Office (2)
Mr. David Harper, Deputy Chief of Staff, Assembly Republican Leader's Office ,
Ms, J. 'S. Woodford, Acting Secretary, Department of Corrections and Rehabilitation
_Mr. Bernard Warner, Chief Deputy Secretary, Division of Juvenile Justice, Department of
Corrections and Rehabilitation | .

' Mr. John Dovey, Chief, Division of Adult Operations, Department of Corrections and

_Rehabllitation

'. Mr. George A. Sifuentes, Deputy Director, Facilities Management Branch, Department of

_ Corrections and Rehabilitation .
Mr. Richard C. Powers, Chief, Facilities Management Branch, Department of Corrections
and Rehabilitation

icc: AGUIAR, COSTIGAN, KLASS, FINN, MARTONE, CIF, SUSPENSE, FILE

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EXHIBIT D

‘SANFORDagERBSBO-*CV-00520-KJM-SCR Document 1886-1 Filed 07/10/06 Page 85 of 95 TELEPHONE

ANDREA G AGAnD * ROSEN, BIEN & ASARO, LLP (415) 433-6830

ERNEST GALVAN ATTORNEYS AT LAW FAX
EIGHTH FLOOR (ais) 4aacrics

HOLLY BALDWIN 155 MONTGOMERY STREET

GAY C. GRUNFELD SAN FRANCISCO, CALIFORNIA 94104 EMAIL

JANE KAHN rba@rbalaw.com

MEGHAN LANG

ANNE MANIA

THOMAS NOLAN

LORI RIFKIN ***
JANET TUNG
AMY WHELAN

MARAKA L. WILLITS
SARAH OLSON ZIMMERMAN ****

June 7, 2006
VIA EMAIL AND REGULAR MAIL

Lisa A. Tillman

- Deputy Attorney General
Department of Justice
1300 I Street, Suite 125
P.O. Box 944255
Sacramento, CA 94244-2550

Re: Coleman v. Schwarzenegger
Defendants' Revised Long Term Bed Plan for EOP Beds
Our File No. 489-3

Dear Ms. Tillman:

Plaintiffs write regarding defendants’ compliance with the Court’s May 1, 2006

Order, which rejected defendants’ long term plan for enhanced outpatient beds because

_ the plan described a shortfall of more than 1000 beds and directed defendants to file an
— amended long term plan within sixty days. 5/1/02 Order $f 1, 2.

During Dr. Farber-Szekrenyi’s testimony at the hearings on the Bed Plan, the
Court was clearly disturbed by the CDCR’s planning process for EOP patients that did
not address the existing and long-term need. When Judge Karlton asked, “Is it
appropriate for the State to recognize that its proposals will leave 1336 patients without
appropriate care?”, Dr. Farber-Szekrenyi replied: “It should address all the needs. That’s
correct.” See April 27, 2006 Transcript of Hearing before Judge Karlton (“April 27th
Transcript”) at 61. Later, Mr. Bien asked whether the next Bed Plan will cover all of the
need that the CDCR itself had projected for the EOP population, and Judge Karlton
rephrased the question as: “Will the next proposed Bed Plan actually address need?” Dr.
Farber-Szekrenyi replied: “Yes, I think that the next proposed Bed Plan that we talked
about will be updated for the new population base anyway. And a part of that one will be
addressing all the needs” See April 27th Transcript at 62.

Defendants’ failure to adequately plan for the EOP bed need has resulted in injury
and death to the plaintiff class. There are existing court orders that require that
defendants assure that adjustments for the growth in the EOP populations were built into

* MEMBER OF THE CONNECTICUT AS WELL AS THE CALIFORNIA BAR
** OF COUNSEL .

*** MEMBER OF THE CONNECTICUT AND NEW YORK BAR

‘**** MEMBER OF THE ILLINOIS AS WELL AS THE CALIFORNIA BAR

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the budget process through staffing ratios. 7/29/99 Order at 2; See October 8, 2002
Order (adopting Special Master’s September 3, 2002 Recommendations requiring
defendants to implement the Tucker Alan Bed Needs Study, which includes EOP beds,
with “proposals for MHSDS staffing and construction based on the bed needs study.”)
There has been no justification or explanation provided by defendants for the failure to
provide for the needs for the EOP population given these existing orders.

_ The amended Bed Plan to be filed by defendants on July 1, 2006 must include a
revised plan to address the EOP bed shortage. If defendants fail to do so, we will file
objections and request a further hearing on the adequacy of the amended Bed Plan.

On a final note, plaintiffs have requested further explanation regarding the normal
process for annual adjustments of the EOP staffing and bed expansion. Does this
adjustment based upon staffing ratios only provide for staffing increases and not bed
expansion?) How are EOP beds expanded when population figures have resulted in
increased staffing allocations? Is this done through the BCP process? When was the last
EOP program expansion? If staff is being allocated based upon population figures but no
beds have been increased, where has this allocated staff been placed? We request ‘that

_ these issues be on the agenda for the July Policy Meeting.

We hope to receive an amended Bed Plan that addresses all of the need that CDCR
has projected for its EOP population. Please feel free to contact me if you have any
questions regarding our comments.

Sincerely,
ROSEN, BIEN & ASARO, LLP

Deve KD.
By: Jane E. Kahn
JEK: .
Cc: J. Michael Keating, Jr.
Matthew A. Lopes, Jr.
Michael Stone

Katie Riley
Coleman Co-counsel

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EXHIBIT E

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STATE OF CALIFORNIA—DEPARTMENT OF CORRECTIONS AND REHABILITATION ARNOLD SCHWARZENEGGER, GOVERNOR

DIVISION OF CORRECTIONAL HEALTH CARE SERVICES
P. O. Box 942883
Sacramento, CA 94283-0001

June 30, 2006

J. Michael Keating, Jr. via: Lisa Tillman

Office of the Special Master Deputy Attorney General
2351 Sussex Drive Department of Justice
Femandina Beach, FL 32034 1300 I Street, Suite 125

P. O. Box 944255
Sacramento, CA 94244-2550

RE: RALPH COLEMAN, et al. v. ARNOLD SCHWARZENEGGER, et al.
USDC, Eastern District of California, Case No. CIV 8-90-0520 LKK JFM P

Dear Mr. Keating:

In accordance with the May 1, 2006, court order please find enclosed an update on the
activation of the Mental Health Crisis Beds in the Correctional Treatment Centers at Kern
Valley State Prison (KVSP) and California State Prison, Sacramento (CSP-SAC). The court
order required these two facilities to be open and operational by July 1, 2006.

The CSP-SAC has already opened their 11 beds crisis unit. KVSP will open their 12 crisis
beds on July 1, 2006, However, in order to meet the July 1, 2006, activation date both
institutions needed to move existing staff from other mental health programs. Therefore,
although the crisis beds will mcet the activation date there are significant impacts to providing
mental health services in other areas that will result in limited services until those vacancies
can be filled. KVSP reports that the Registered Nurse Triage, Correctional Clinical Case
Management System (CCCMS), and Administrative Segregation (Ad Seg) programs will be
impacted by the redirection of 1 physician, 1 psychiatrist, 2 psychologists, and most of their
nursing staff. CSP-SAC reports that their CCCMS and Ad Seg Enhanced Outpatient Program
will be impacted by the redirection of | psychiatrist, 2 psychologists, and .25 of a psychiatric
social worker.

Enclosed for your review is the final status- report outlining all recruitment efforts utilized to
date by the Department and denotes continuing efforts. The Department will continue working
with the institutions until al! relevant mental health classifications are filled. In addition, a
listing of issues and barriers contributing to the challenges of opening these facilities is
included.

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J. Michael Keating, Jr.
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If you have any questions on any aspect of this update, please contact me at
(916) 327-0033, or Nancy Bither, Chief, Human Resources at (916) 445-5454.

Sincercly,

GLA ALA

PETER FARBER-SZEKRENYI, DR., P.H.
Director
Division of Correctional Health Care Services

Enclosure

ce: James Tilton, Secretary, CDCR

Bruce Slavin, General Counscl, Office of Legal Affairs, CDCR

Kathlecn Keeshen, Chief Deputy General Counsel, Office of Legal Affairs, CDCR

Michael Stone, Staff Counsel, Office of Legal Affairs

John Dovey, Director, Division of Adult Institutions, CDCR

Scott Kernan, Deputy Director, Division of Adult Institutions, CDCR

Renee Kanan, M.D., MPH, Deputy Director, DCHCS, CDCR

Yulanda Mynhier, Deputy Director, Health Care Administrative Operations Branch,
DCHCS, CDCR

Tim Fishback, M.D., Chief Psychiatrist, Mental Health Program, DCHCS, CDCR

Nancy Bither, Chief, Human Resources, CDCR

Eileen Cubanski, Assistant Secretary, California Health and Human Services Agency

Frank Furtek, Chief Counsel, California Health and Human Services Agency

Cynthia Radavsky,. Deputy Director, Long Term Care — Services,
Department of Mental Health (DMF)

Norm Black, Staff Counsel, Legal Services, DMH

Dave Gilb, Chief, Department of Personnel Administration

Sarah Mangum, Principal Program Budget Analyst, Department of Finance

Doug McKeever, Project Director, Mental Health Program, DCHCS

Vicki O’Shaughnessy, Staff Services Manager II, Clinical Programs and Policy Unit,
DCHCS, CDCR

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5. Activate MHCB in CTCs at Kern Valley and CSP Sacramento By July 1, 2006
Court Order

On May 1, 2006, Judge Kariton ordered that, within 60 days from the date of his order (Due July 1, 2006),
CDCR shall activate the mental health crisis beds in the correctional treatment centers at Kern Valley State
Prison and California State Prison, Sacramento or inform the court in writing that date why said centers are
not fully operational.

Recommended Staff Resources: Nancy Bither (Lead)

Status: Both Kern Valley State Prison (KVSP) and California State Prison, Sacramento (CSP-Sac) will
activate the mental health crisis beds by filling positions and redirecting existing staff. CSP-Sac has activated
all 11 crisis beds and KVSP will activate 12 crisis beds. The Office of Workforce Planning and Selection
(OWPS) continues to employ the following recruitment efforts to assist KVSP and CSP-Sacramento to fully
staff their mental health programs.

Current Hiring Efforts

CSP-Sacramento is interviewing five candidates for Senior Psychologist Supervisor the week of
June 19, 2006. In addition, they are interviewing two Psychiatrist candidates at the end of June 2006.

KVSP requested a clinical psychologist certification list and Dr. Stephen Bindler is calling each candidate to
discuss potentia} CDCR career opportunities with them. He will call candidates the week of June 19, 2006.

KVSP-Hiring Status as of June 19, 2006

e Staff Psychiatrist- One Lateral transfer from Wasco selected, personnel completing paperwork.

° Clinical Psychologist-May 30, 2006, interviewed three candidates, one offer made, candidate has not
accepted offer as of June 20, 2006.

¢ Pharmacist !I-Candidate offered position. Start date is July 10, 2006.

CSP-SAC — Hiring Status as of June 19, 2006
« Hired one Pharmacist | ,
« Hired two Psychologists

CURRENT RECRUITMENT EFFORTS

Pay Differential

On June 2, 2006, The Department submitted a recruitment and retention pay differential for various mental
health classifications at KVSP that is comparable to the pay differential ordered by the Coleman Court for
California State Prison - Corcoran. The Department of Personnel Administration (DPA) reported on June 28,
2006, that they have approved a pay differential for the following classes that had vacancies: Clinical Social
Worker; Psychologist; and Recreation Therapist.

Exams

The CDCR worked with the State Personne! Board (SPB) to develop an online Staff Psychiatrist exam that
will be hosted on SPBs Web Site. The new on-line exam will be available for candidates after July 1, 2006.

Advertisements

Advertisements for al! mental health workshops and institutional vacancies are done on a continuous basis in
professional journals, including the American Psychiatric Association and California Psychologist and various

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Web Sites such as militaryexits.com and Career Builder as well as the vacancy database on State Personnel
Board’s Web site.

OWPS staff has received five inquiries from Licensed Clinical Social Workers and Clinical Psychologists
concerning career opportunities at KVSP from Careerbuilder.com. Information has been forwarded to
interested candidates and OWPS staff is monitoring their potential interest.

Schools

OWPS staff and Dr. Dos Santos did a presentation for the residents at USC. There was interest from first,
second, and third year students. OwPs staff will follow up with the residents at the appropriate point in their
studies.

OWPS staff is working with California State University, Fresno’s Social Work Department regarding potential
employment opportunities for their graduating students. In addition, staff is working with several Pharmacy
Tech program placement offices regarding job opportunities for their graduating students.

Certification List Contacts

OWPS will be canvassing the statewide lists for qualified candidates to help fill the vacancies that both
CSP-SAC and KVSP have due to the increase in mental health bed staffing. This will be completed by
June 26, 2006.

PAST RECRUITMENT EFFORTS

Advertisements

Advertisements for all mental health classifications were placed in over 30 different newspapers on a
continuous basis advertising the workshops and institutional vacancies, as well as, the vacancy database on
State Personnel Board’s Web site.

Schools

OWPS initiated contact with the California Psychiatric Residency Programs in order to distribute literature to
resident students regarding job opportunities. Of those contacted, only Stanford and UC Irvine were
interested. Staff continues following up with the other Residency Programs.

Certification List Contacts

OWPS staff contacted KVSP and CSP-SAC certification list candidates to inquire if they were interested in
obtaining employment at these institutions for all mental health classifications. Two candidates declined,
(found employment elsewhere).and the rest have not returned calls. If OWPS staff receives calls back from
any of the remaining cert list candidates, they will direct candidates to the correct personnel office to
schedule interviews.

Mailers
Address data of all California licensed professionals was used to mail workshop announcements (over 3,000

for KVSP and over 4,400 for CSP-SAC). In addition, the institution personnel staff utilized the certification
lists of potential employees to mail out notification of the hiring workshops.

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Hiring Workshops

KVSP-Workshop was held April 28, 2006

e 35 interested candidates attended the workshop.

e _ Eight of the 35 took an exam and were placed on cert lists (1-Clinical Social Worker, 1-Pharmacist and 6
Psychologists) All eight have been interviewed by KVSP and selections have been made.

CSP-SAC Workshop was held February 17, 2006
e 65 perspective applicants attended the workshop
s 19 tentative job offers were made:
« Nine psychologists
o Five have started
eo One starts in August, and one will start in September
o Two have declined due to pay
co The institution changed their mind about hiring one candidate
e Seven licensed clinical social workers
o Three started In March 2006
o Three are working as contract employees
o One declined due to pay
* Three psych technicians
o Three found employment elsewhere

Association Meetings and Job Fairs

The OWPS attended the following events in an attempt to recruit qualified candidates:

e Orange County Psych Society-March 11, 2006
© California Psychological Association-March 23-26, 2006
e Northern California Psychiatric Society-March 31-April 1, 2006

There was very little interest generated from the attendance of OWPS staff at these events. We are finding
that attending job fairs does not typically result in viable hires for the Department. However, we will continue
working with associations to set up meetings and/or presentations.

issues/Barriers: There are a number of issues and barriers preventing CDCR from attracting and retaining
qualified health care staff. The inability to compete with salaries and benefits paid by the private sector and
working conditions are the main reasons potential candidates are declining job opportunities based on
discussions with OWPS and Institution staff.

Details of the issues and barriers that the institutions are facing:

1. Salary - Although the State’s benefit package is usually better than most private sector employers,
the compensation currently offered by CDCR is not competitive with other employers. Candidates
specifically have declined job offers stating that the salary was too low, this combined with the
unique working environment in a correctional facility, provides no incentive for a health care
professional to seek employment in an institution. Both CSP-Sac and KVSP reported that they have
been unable to utilize registry due to the fact that the registries do not have staff available.

2. Environment - Correctional institutions are inherently more dangerous to work in than other settings
and have a poor clinical image. To the clinician, they are seen as undesirable treatment

_ environments.

3. Location - Kern Valley State Prison (KVSP) has indicated that the geographic Jocation of their
institution has detracted many candidates from seeking employment with their institution. KVSP is
located in the Central Vailey, which is known for the uncomfortable climate and physical remoteness
from resources and amenities of the State’s urban centers. KVSP is not the only institution that has
noted location as a hindrance to hiring.

4. Credential Verification Process - California State Prison-Sacramento (CSP-SAC) has indicated
that the time it takes for Credential Verification has impeded the process. According to the

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institution, what used to take two days now takes three weeks due to competing priorities associated
with court order compliance. The increased length of time for credential verification allows a greater
opportunity for CDCR to lose a candidate to other job opportunities.

5. Examination Process - CSP-SAC and KVSP have stated that the protracted length of time for an
exam to be scored and placement of candidates on lists hinders the hiring process due to competing
priorities associated with court order compliance and Jack of staff resources. OWPS is working with
SPB to automate some of the mental health classification exams. Some of the obstacles to online
exams are the cost and time consuming process due to dependence on SPB timeframes. If funding
were available, CDCR would move toward developing and hosting its own online exams. However,
due to the CDCR’s server Jimitations this option is currently not viable. However, CDCR continues to
explore this option. Therefore, we are spending approximately $58,000 per exam to have State
Personnel Board develop and host CDCR’s online exams. in the meantime, exam development and
candidate certification eligibility is contingent upon staff resources.

- §. Workload Issues - Institution staff are overwhelmed due to increased workload issues associated
with a number of court orders, stringent hiring requirements and augmented reporting requirements.
The institutions do not have the additional resources that are needed to focus on the Coleman hiring
efforts. In fiscal year 2006-07, each institution will receive 1 clerical staff position to assist with
reporting and hiring efforts and 27 institutions, those with high vacancy rates in health care
classifications, will receive an associate governmental program analyst to assist with hiring efforts.
In addition, headquarters will receive an additional 17.5 positions dedicated to addressing hiring
issues for health care classifications and implement the Live Scan IT project statewide to assist in
speeding up the background check process necessary for hiring.

7. Loan Repayment Program — The Health Professional Shortage Area (HRSA) Federal Loan
Repayment Program is not available to ail institutions. At qualifying institutions, the Federal Loan
Repayment Program is used to attract potential employees due to their accumulation of financial aid
debt used to offset education costs by candidates. The HRSA program “qualifies” institutions based
on a combination of vacancy rate and staffing ratios. Currently, there is no other loan repayment
program available to offer candidates at institutions that do not qualify for the HRSA program.

8. Use of Psychiatric Nurse Practitioner- CSP-SAC has raised the issue of whether they can utilize
Psychiatric Nurse Practitioners instead of Staff Psychiatrists to help fill some critical vacancies due to
the difficulty of attracting qualified psychiatrist candidates to be employed by CDCR. Proposed
minimum qualifications may further limit the candidate poo!. Currently, CDCR is developing
specifications for this classification.

9. California Psychiatric Nurse Practitioners programs do not graduate enough candidates to
have a adequate candidate pool — University of California, San Francisco and California State
University, Long Beach are the two institutions in California that have a Psychiatric Nurse Practitioner
program and in 2004/2005 they only graduated 17 candidates (5 from UCSF and 12 from Long
Beach). This low number would not be able to accommodate the need the department has for filling
critical vacancies.

10. Nursing Schools — Due to funding priorities, nursing schools have not been able to expand their
nursing programs that would enable them to accept additional nursing school students. Therefore,
nursing programs in California are not able to keep up with the growing demand for nursing
professionals in the job market.

11. Certification candidates — There is a growing problem with candidates being placed on the
certification lists which when contacted regarding job opportunities either do not respond or they .
indicate they are no longer interested. Therefore, these candidates often hold up the first three ranks
making it impossible for the institution to reach candidates in the fourth and fifth ranks even though
these candidates would like to work at their institution. This just reiterates that the certification lists
might have large numbers of candidates but when OWPS and institution staff canvass the list, they
find the candidate pool is actually quite small.

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Contacted By Institution Staff

KVSP Vacancy Info
CTC Staffing

Class Code Classification Established Positions | # of Vacancies | # on Cert List
9293 Clinical Lab Technician 4 4 0
9283 Clinical Psychologist 2 2 10
9872 Clinical Social Worker 4 1 5
7982 ‘|Pharmacist | 4 1 4
9269 Physician and Surgeon 2 2 4
9286 Recreation Therapist 1 1 0
9318 Supervising Registered Nurse II 2 1 14
7979 Pharmacy Technician 1 0 38
9272 Staff Psychiatrist 4 0 7

Total: 12 § 82
Date
Contacted j|Name of Candidate Contacted [Results Reason for Decl

no vac. At time, no calls made no interested candidates Inoexamgiven =f

5/9/2006 Sharon Walker No response

/9/2006 Cythina Hirbour No response

5/9/2006 Yenyu Lin No response

§/9/2006 Elisa Max Bad number

'§/9/2006 Gurminder Sahasi Bad number .

5/9/2006 James Andrews declined due to distance

5/9/2008 Heather Hamm declined due to distance

5/9/2006 Kever Czlapinski No response

5/9/2006 Selina Barnett No response
Contacted by OWPS Staff

6/3/2006 ' Cynthia A. Hirbour Left message

6/3/2006 Yenyu Lin Left message

6/3/2006 Gurminder Sahasi wrong number

Contacted by Institution Staff

int

AtSQ

no vac, At time, no calls made

Contacted by OWPS Staff
6/3/2006 Stefan Bain No response
6/3/2006 Rolinda S. Gomez No response
6/3/2006 Joe Acosta no response

*means there was candidate on cert list that had previously been contacted and declined, so no new contact was made
“OWPS staff contacted candidates in the top three ranks only

Date
Contacted

Name of Candidate Contacted

Contacted By Institution Staff

Results

Reason for Decline

1/20/2006 |Sean Kane interviewed not hired
1/20/2006 —{Rambir Singh no response
Contacted by OWPS Staff
OWPS did not contact, due to interviews
6/3/2006 |being scheduled

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KVSP Vacancy Info
CTC Staffing

Institution worked cert list no
assistance was given by OWPS

Pnoccert list |

Institution worked cert, no
assistance was given by OWPS

*means there was candidate on cert list that had previously been contacted and declined, so no new contact was made
* Institution has not gotten any interested candidates, no exam has been given

